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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

                                                   )
 IN RE AUTOMOTIVE PARTS                            )     Master File No. 12-md-02311
 ANTITRUST LITIGATION                              )
                                                   )     Case No. 2:12-cv-00602
                                                   )
 In re:                                            )     Hon. Marianne O. Battani
                                                   )
 OCCUPANT SAFETY RESTRAINT                         )     Hon. Mona Majzoub
 SYSTEMS                                           )
                                                   )
                                                   )     Jury Trial Demanded
 THIS DOCUMENT RELATES TO:                         )
                                                   )
 ALL DEALERSHIP ACTIONS                            )
                                                   )

                    DEALERSHIP CONSOLIDATED CLASS COMPLAINT

          Plaintiffs Martens Cars of Washington, Inc. (“Plaintiff Martens”), Landers Auto Group No.

 1, Inc., d/b/a Landers Toyota (“Plaintiff Landers”), Hammett Motor Company, Inc. (“Plaintiff

 Hammett”), Superstore Automotive, Inc. (“Plaintiff Superstore”), Lee Pontiac-Oldsmobile-GMC

 Truck, Inc. (“Plaintiff Lee”), Westfield Dodge City, Inc. (“Plaintiff Westfield”), V.I.P. Motor Cars

 Ltd. (“Plaintiff V.I.P.”), Desert European Motorcars, Ltd. (“Plaintiff Desert”), Landers McLarty

 Fayetteville TN, LLC (“Plaintiff Fayetteville”), Dale Martens Nissan Subaru, Inc. (“Plaintiff Dale

 Martens”), Green Team of Clay Center Inc. (“Plaintiff Green Team”), McGrath Automotive

 Group, Inc. (“Plaintiff McGrath”), Table Rock Automotive, Inc., d/b/a Todd Archer Hyundai

 (“Plaintiff Table Rock”), Archer-Perdue, Inc., d/b/a/ Archer-Perdue Suzuki (“Plaintiff Archer-

 Perdue”), Landers McLarty Lee’s Summit Mo, LLC d/b/a Lee’s Summit Chrysler Dodge Jeep

 Ram and d/b/a Lee’s Summit Nissan (“Plaintiff Lee’s Summit”), Bonneville and Son, Inc.

 (“Plaintiff Bonneville”), Holzhauer Auto and Truck Sales, Inc. (“Plaintiff Holzhauer”), Pitre, Inc.,



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 d/b/a/ Pitre Buick GMC (“Plaintiff Pitre”), Patsy Lou Chevrolet, Inc. (“Plaintiff Patsy Lou”), John

 Greene Chrysler Dodge Jeep, LLC (“Plaintiff John Greene”), SLT Group II, Inc., d/b/a Planet

 Nissan Subaru of Flagstaff (“Plaintiff Planet Nissan”), Herb Hallman Chevrolet, Inc., d/b/a/

 Champion Chevrolet (“Plaintiff Champion”), Charles Daher’s Commonwealth Motors, Inc., d/b/a

 Commonwealth Chevrolet, Commonwealth Kia, Commonwealth Honda (“Plaintiff

 Commonwealth Motors”), Commonwealth Volkswagen, Inc., d/b/a Commonwealth Volkswagen

 (“Plaintiff Commonwealth Volkswagen”), Commonwealth Nissan, Inc., d/b/a Commonwealth

 Nissan (“Plaintiff Commonwealth Nissan”), Ramey Motors, Inc. (“Plaintiff Ramey”), Thornhill

 Superstore, Inc., d/b/a Thornhill GM Superstore (“Plaintiff Thornhill”), Dave Heather

 Corporation, d/b/a Lakeland Toyota Honda Mazda Subaru (“Plaintiff Lakeland”), Central Salt

 Lake Valley GMC Enterprises, LLC, d/b/a Salt Lake Valley Buick GMC (“Plaintiff Salt Lake

 Valley”), Capitol Chevrolet Cadillac, Inc. (“Plaintiff Capitol Chevrolet”), Capitol Dealerships, Inc.,

 d/b/a Capitol Toyota (“Plaintiff Capitol Toyota”), Beck Motors, Inc. (“Plaintiff Beck”), Stranger

 Investments d/b/a Stephen Wade Toyota (“Plaintiff Wade”), John O’Neil Johnson Toyota, LLC

 (“Plaintiff Johnson”), Hartley Buick GMC Truck, Inc. (“Plaintiff Hartley”), Lee Oldsmobile-

 Cadillac, Inc. d/b/a Lee Honda (“Plaintiff Lee Honda”), Lee Auto Malls-Topsham, Inc. d/b/a Lee

 Toyota of Topsham (“Plaintiff Topsham”), Landers of Hazelwood, LLC d/b/a Landers Toyota of

 Hazelwood (“Plaintiff Hazelwood”), Cannon Chevrolet – Oldsmobile – Cadillac – Nissan, Inc.

 (“Plaintiff Cannon”), Cannon Nissan of Jackson, LLC (“Plaintiff Cannon Nissan”), Hudson

 Charleston Acquisition, LLC d/b/a Hudson Nissan (“Plaintiff Hudson Nissan”), Shearer

 Automotive Enterprises III, Inc. (“Plaintiff Shearer”), Apex Motor Corporation (“Plaintiff Apex”)

 (collectively “Plaintiffs”), file this Consolidated Class Complaint on behalf of themselves and all

 others similarly situated (the “Classes” as defined below).



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        Plaintiffs bring this class action for damages, injunctive relief, and other relief pursuant to

 federal antitrust laws and state antitrust, unfair competition, and consumer protection laws,

 demand a trial by jury, and allege as follows:

                                        NATURE OF ACTION

        1.      Plaintiffs bring this lawsuit as a proposed class action against the Defendants

 (defined below), manufacturers, and suppliers of Occupant Safety Restraint Systems (defined

 below) globally and in the United States for engaging in a lengthy conspiracy to suppress and

 eliminate competition in the automotive parts industry by agreeing to rig bids for, and to fix,

 stabilize, and maintain the prices of these products, which were sold to automobile

 manufacturers in the United States and elsewhere. The Defendants’ conspiracy successfully

 targeted the United States automotive industry, raising prices for car manufacturers, car and

 truck dealers, and consumers.

        2.      “Occupant Safety Restraint Systems” are generally comprised of the parts in an

 automotive vehicle1 that protect drivers and passengers from bodily harm. Types of different

 Occupant Safety Restraint Systems include seat belts, airbags, steering wheels, and steering

 systems.

        3.      The “Class Period” refers to March 2006 to the present.

        4.      The Defendants manufacture, market, and sell Occupant Safety Restraint Systems

 throughout the United States and in other countries.

        5.      Vehicles containing Occupant Safety Restraint Systems, as well as Occupant

 Safety Restraint Systems themselves, made by Defendants, are sold in every state of the United

 States and the District of Columbia.


 1
  “Vehicles” as used here, means any new vehicles purchased by automobile dealers throughout
 the United States, including but not limited to sedans, trucks and sport utility vehicles.
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        6.      The Defendants and other co-conspirators (as yet unknown) agreed, combined,

 and conspired to rig bids for, and to fix, stabilize, and maintain the prices of Occupant Safety

 Restraint Systems. They carried out their conspiracy by agreeing, during meetings and

 conversations, to allocate the supply of Occupant Safety Restraint Systems on a model-by-model

 basis. Defendants then sold Occupant Safety Restraint Systems at noncompetitive prices to

 automobile manufacturers in the United States and elsewhere, for sale in United States.

        7.      Competition authorities in the United States and the European Union have been

 investigating a conspiracy in the market for Occupant Safety Restraint Systems. As part of its

 criminal investigation, the United States Department of Justice (“DOJ”) is seeking information

 about anticompetitive conduct in the market for Occupant Safety Restraint Systems, and the

 Federal Bureau of Investigation (“FBI”) has participated in raids, pursuant to search warrants,

 carried out in at least some of the Defendants’ offices. The European Commission Competition

 Authority (“EC”) has also conducted investigations at the European offices of several of the

 Defendants.

        8.      Defendant Autoliv, Inc. has agreed to plead guilty and pay a $14.5 million fine for

 its unlawful conduct in conspiring with others to suppress and eliminate competition in the

 automotive parts industry by agreeing to rig bids for, and to fix, stabilize, and maintain the prices

 of, Occupant Safety Restraint Systems sold to certain automobile manufacturers in the United

 States and elsewhere at various times from at least as early as March 2006 and continuing until at

 least February 2011. The combination and conspiracy engaged in by Defendant Autoliv, Inc. and

 its co-conspirators was in unreasonable restraint of interstate and foreign trade and commerce in

 violation of the Sherman Antitrust Act, 15 U.S.C. § 1.




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        9.      Defendant TRW Deutschland Holding Gmbh has agreed to plead guilty and to

 pay a total of $5.1 million in criminal fines concerning a two-count criminal investigation for

 fixing the prices of seatbelts, steering wheels and airbags.

        10.     As a direct result of the anti-competitive and unlawful conduct alleged herein,

 Plaintiffs and the Class paid artificially inflated prices for Occupant Safety Restraint Systems or

 for vehicles containing Occupant Safety Restraint Systems. Plaintiffs and the members of the

 Classes have thereby suffered antitrust injury to their business or property.

                                  JURISDICTION AND VENUE

        11.     Plaintiffs bring this action under Section 16 of the Clayton Act (15 U.S.C. § 26) to

 secure equitable and injunctive relief against Defendants for violating Section 1 of the Sherman

 Act (15 U.S.C. § 1). Plaintiffs also assert claims for actual and exemplary damages pursuant to

 state antitrust, unfair competition, and consumer protection laws, and seek to obtain restitution,

 recover damages, and secure other relief against Defendants for violation of those state laws.

 Plaintiffs and the Classes also seek attorneys’ fees, costs, and other expenses under federal and

 state law.

        12.     This Court has jurisdiction over the subject matter of this action pursuant to

 Section 16 of the Clayton Act (15 U.S.C. § 26), Section 1 of the Sherman Act (15 U.S.C. § 1),

 and Title 28, United States Code, Sections 1331 and 1337. This Court has subject matter

 jurisdiction over the state law claims in this action, pursuant to 28 U.S.C. §§ 1332(d) and 1367,

 because this is a class action in which the matter or controversy exceeds the sum of $5,000,000,

 exclusive of interests and costs, and in which some members of the proposed Classes are citizens

 of different states than some Defendants.




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         13.     Venue is proper in this district pursuant to Section 12 of the Clayton Act (15

 U.S.C. § 22), and 28 U.S.C. §§ 1391 (b), (c), and (d), because a substantial part of the events

 giving rise to Plaintiffs’ claims occurred in this district, a substantial portion of the affected

 interstate trade and commerce discussed below has been carried out in this district, and one or

 more of the Defendants reside, are licensed to do business in, are doing business in, had agents in,

 or are found or transact business in this district.

         14.     This Court has in personam jurisdiction over each of the Defendants because each

 Defendant, either directly or through the ownership and/or control of its United States

 subsidiaries, inter alia: (a) transacted business in the United States, including in this district; (b)

 directly or indirectly sold or marketed substantial quantities of Occupant Safety Restraint

 Systems throughout the United States that were specifically designed for vehicles that were

 intended to be sold in the United States, including in this district; (c) had substantial aggregate

 contacts with the United States as a whole, including in this district; (d) was through its own

 actions and through the actions of its co-conspirators, engaged in an illegal price-fixing

 conspiracy that was directed at, and had a direct, substantial, reasonably foreseeable and intended

 effect of causing injury to, the business or property of persons and entities residing in, located in,

 or doing business throughout the United States; (e) targeted customers in the United States,

 including this district, and/or (f) engaged in actions in furtherance of an illegal conspiracy in this

 district either itself or through its co-conspirators. Defendants also conduct business throughout

 the United States, including in this district, and they have purposefully availed themselves of the

 laws of the United States and this district.

         15.     Defendants engaged in conduct both inside and outside of the United States that

 caused direct, substantial, reasonably foreseeable, and intended anti-competitive effects upon



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 interstate commerce within the United States and upon import trade and commerce into the

 United States.

        16.       The activities of Defendants and their co-conspirators were within the flow of,

 were intended to have, and did have, a substantial effect on interstate commerce of the United

 States. Defendants’ products are sold in the flow of interstate commerce.

        17.       Occupant Safety Restraint Systems manufactured abroad by Defendants and sold

 for use in automobiles either manufactured in the United States or manufactured abroad and sold

 in the United States are goods brought into the United States for sale and, therefore, constitute

 import commerce. To the extent any Occupant Safety Restraint Systems are purchased in the

 United States, and such Occupant Safety Restraint Systems do not constitute import commerce,

 Defendants’ unlawful activities with respect thereto, as more fully alleged herein during the

 Class Period, had, and continue to have, a direct, substantial, and reasonably foreseeable effect

 on United States commerce. The anticompetitive conduct, and its effect on United States

 commerce described herein, proximately caused antitrust injury to Plaintiffs and members of the

 Classes in the United States.

        18.       By reason of the unlawful activities hereinafter alleged, Defendants substantially

 affected commerce throughout the United States, causing injury to Plaintiffs and members of the

 Classes. Defendants, directly and through their agents, engaged in activities affecting all states, to

 fix or inflate prices of Occupant Safety Restraint Systems, and that conspiracy unreasonably

 restrained trade and adversely affected the market for Occupant Safety Restraint Systems.

        19.       Defendants’ conspiracy and wrongdoing described herein adversely affected

 persons in the United States who purchased Occupant Safety Restraint Systems, including

 Plaintiffs and the Classes.



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                                              PARTIES

           The Plaintiffs

           20.    Plaintiff Martens is a Maryland corporation with its principal place of business in

 the District of Columbia. Plaintiff Martens is an authorized Volvo and Volkswagen dealer which

 bought Volvo- and Volkswagen-brand vehicles containing Occupant Safety Restraint Systems

 manufactured by one or more of the Defendants or their co-conspirators, as well as Occupant

 Safety Restraint Systems manufactured by one or more of the Defendants or their co-

 conspirators, during the Class Period.

           21.    During the Class Period Plaintiff Martens purchased vehicles containing

 Occupant Safety Restraint Systems manufactured by one or more of the Defendants or their co-

 conspirators. Plaintiff Martens also purchased Occupant Safety Restraint Systems, manufactured

 by one or more of the Defendants or their co-conspirators, for its repair and service business,

 during the Class Period. Plaintiff Martens purchased and received both the afore-mentioned

 vehicles and Occupant Safety Restraint Systems in the District of Columbia. Plaintiff Martens

 has also displayed, sold, and advertised its vehicles in the District of Columbia during the Class

 Period.

           22.    Plaintiff Hammett is a Mississippi corporation with its principal place of business

 in Durant, Mississippi. Plaintiff Hammett is an authorized Ford dealer who bought Ford-brand

 vehicles containing Occupant Safety Restraint Systems manufactured by one or more of the

 Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems manufactured

 by one or more of the Defendants or their co-conspirators, during the Class Period.

           23.    During the Class Period Plaintiff Hammett purchased vehicles containing

 Occupant Safety Restraint Systems manufactured by Defendants or their co-conspirators.

 Plaintiff Hammett also purchased Occupant Safety Restraint Systems, manufactured by

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 Defendants or their co-conspirators, for its repair and service business, during the Class Period.

 Plaintiff Hammett purchased and received both the afore-mentioned vehicles and Occupant

 Safety Restraint Systems in Mississippi. Plaintiff Hammett has also displayed, sold, serviced,

 and advertised its vehicles in Mississippi during the Class Period.

        24.     Plaintiff Landers is an Arkansas corporation with its principal place of business in

 Little Rock, Arkansas. Plaintiff Landers is an authorized Toyota dealer who bought Toyota-

 brand vehicles containing Occupant Safety Restraint Systems manufactured by one or more of

 the Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

 manufactured by one or more of the Defendants or their co-conspirators, during the Class Period.

        25.     During the Class Period Plaintiff Landers purchased vehicles containing Occupant

 Safety Restraint Systems manufactured by one or more Defendants or their co-conspirators.

 Plaintiff Landers also purchased Occupant Safety Restraint Systems, manufactured by one or

 more Defendants or their co-conspirators, for its repair and service business, during the Class

 Period. Plaintiff Landers purchased and received both the afore-mentioned vehicles and

 Occupant Safety Restraint Systems in Arkansas. Plaintiff Landers has also displayed, sold,

 serviced, and advertised its vehicles in Arkansas during the Class Period.

        26.     Plaintiff Superstore is a Minnesota company, with its principal place of business

 in White Bear Lake, Minnesota. Plaintiff Superstore is an authorized Buick/GMC dealer, doing

 business under the name White Bear Lake Superstore. Plaintiff Superstore bought Buick- and

 GMC-brand vehicles containing Occupant Safety Restraint Systems manufactured by one or

 more of the Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

 manufactured by one or more of the Defendants or their co-conspirators during the Class Period.




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            27.   During the Class Period Plaintiff Superstore purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Superstore also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Superstore purchased and received both the afore-

  mentioned vehicles and Occupant Safety Restraint Systems in Minnesota. Plaintiff Superstore

  has also displayed, sold, serviced, and advertised its vehicles in Minnesota during the Class

  Period.

            28.   Plaintiff Lee is a Florida corporation, with its principal place of business in Fort

  Walton Beach, Florida. Plaintiff Lee is presently an authorized GMC dealer. During the Class

  Period, Plaintiff Lee was also an authorized Pontiac, Oldsmobile and Jeep dealer. Plaintiff Lee

  buys GMC-brand vehicles containing Occupant Safety Restraint Systems manufactured by one

  or more of the Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators. During the Class

  Period, Plaintiff bought Pontiac-, Oldsmobile-, and Jeep-brand vehicles containing Occupant

  Safety Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators, as well as Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators.

            29.   During the Class Period Plaintiff Lee purchased vehicles containing Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-conspirators.

  Plaintiff Lee also purchased Occupant Safety Restraint Systems, manufactured by one or more

  Defendants or their co-conspirators, for its repair and service business, during the Class Period.

  Plaintiff Lee purchased and received both the afore-mentioned vehicles and Occupant Safety



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  Restraint Systems in Florida. Plaintiff Lee has also displayed, sold, serviced, and advertised its

  vehicles in Florida during the Class Period.

         30.     Plaintiff Westfield is a New York company with its principal place of business in

  Westfield, New York. Plaintiff Westfield is an authorized Chrysler dealer, who bought

  Chrysler-, Dodge-, and Jeep-brand vehicles containing Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators, as well as Occupant

  Safety Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators during the Class Period.

         31.     During the Class Period Plaintiff Westfield purchased vehicles containing

  Occupant Safety Restraint Systems manufactured one or more Defendants or their co-

  conspirators. Plaintiff Westfield also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Westfield purchased and received both the afore-

  mentioned vehicles and Occupant Safety Restraint Systems in New York. Plaintiff Westfield has

  also displayed, sold, serviced, and advertised its vehicles in New York during the Class Period.

         32.     Plaintiff V.I.P. is a California company with its principal place of business in

  Palm Springs, California. Plaintiff VIP is an authorized Mercedes, BMW, Infiniti, and Hyundai

  dealer who bought Mercedes-, BMW-, Infiniti-, and Hyundai-brand vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators, as well as Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.

         33.     During the Class Period Plaintiff V.I.P. purchased vehicles containing Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-conspirators.



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  Plaintiff V.I.P. also purchased Occupant Safety Restraint Systems, for its repair and service

  business, during the Class Period. Plaintiff V.I.P. purchased and received both the afore-

  mentioned vehicles and Occupant Safety Restraint Systems in California. Plaintiff V.I.P. has

  also displayed, sold, serviced, and advertised its vehicles in California during the Class Period.

         34.     Plaintiff Desert is a California company, with its principal place of business in

  Rancho Mirage, California. Plaintiff Desert is an authorized Rolls Royce, Bentley, Aston

  Martin, Maserati, Porsche, Jaguar, Land Rover, Audi, Lotus, and Spyker dealer who bought

  Rolls Royce-, Bentley-, Aston Martin-, Maserati-, Porsche-, Jaguar-, Land Rover-, Audi-, Lotus-,

  and Spyker-brand vehicles containing Occupant Safety Restraint Systems manufactured by one

  or more of the Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators during the Class Period.

         35.     During the Class Period, Plaintiff Desert purchased vehicles containing Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-conspirators.

  Plaintiff Desert also purchased Occupant Safety Restraint Systems, manufactured by one or more

  Defendants or their co-conspirators, for its repair and service business, during the Class Period.

  Plaintiff Desert purchased and received both the afore-mentioned vehicles and Occupant Safety

  Restraint Systems in California. Plaintiff Desert has also displayed, sold, serviced, and

  advertised its vehicles in California during the Class Period.

         36.     Plaintiff Fayetteville is an Arkansas corporation, with its principal place of

  business in Fayetteville, Tennessee. Plaintiff Fayetteville is an authorized Toyota dealer, who

  bought Toyota-brand cars containing Occupant Safety Restraint Systems manufactured by one or

  more of the Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators during the Class Period.



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            37.   During the Class Period Plaintiff Fayetteville purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Fayetteville also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Fayetteville purchased and received both the afore-

  mentioned vehicles and Occupant Safety Restraint Systems in Tennessee. Plaintiff Fayetteville

  has also displayed, sold, serviced, and advertised its vehicles in Tennessee during the Class

  Period.

            38.   Plaintiff Dale Martens was a Kansas corporation, with its principal place of

  business in Lawrence, Kansas during the Class Period. Plaintiff Dale Martens was an authorized

  Nissan and Subaru dealer during the Class Period, who, during the Class Period, bought Nissan-

  and Subaru-brand vehicles containing Occupant Safety Restraint Systems manufactured by one

  or more of the Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators.

            39.   During the Class Period Plaintiff Dale Martens purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Dale Martens also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Dale Martens purchased and received both the afore-

  mentioned vehicles and Occupant Safety Restraint Systems in Kansas. Plaintiff Dale Martens

  has also displayed, sold, serviced, and advertised its vehicles in Kansas during the Class Period.

            40.   Plaintiff Green Team is a Kansas corporation, with its principal place of business

  in Clay Center, Kansas. Plaintiff Green Team is an authorized Chrysler, Jeep, Dodge, and Ram



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  dealer, who bought Chrysler-, Jeep-, Dodge-, and Ram-brand vehicles containing Occupant

  Safety Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators, as well as Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators, during the Class Period.

         41.     During the Class Period Plaintiff Green Team purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Green Team also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Green Team purchased and received both the afore-

  mentioned vehicles and Occupant Safety Restraint Systems in Kansas. Plaintiff Green Team has

  also displayed, sold, serviced, and advertised its vehicles in Kansas during the Class Period.

         42.     Plaintiff McGrath is a Delaware corporation, with its principal place of business

  in Cedar Rapids, Iowa. Plaintiff McGrath is an authorized Buick, GMC, Chevrolet, Chrysler,

  Dodge, Jeep, Ram, Kia, and Cadillac dealer, who bought Buick-, GMC-, Chevrolet-, Chrysler-,

  Dodge-, Jeep-, Ram-, Kia-, and Cadillac-brand cars containing Occupant Safety Restraint

  Systems manufactured by one or more of the Defendants or their co-conspirators, as well as

  Occupant Safety Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators during the Class Period.

         43.     During the Class Period Plaintiff McGrath purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff McGrath also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff McGrath purchased and received both the afore-



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  mentioned vehicles and Occupant Safety Restraint Systems in Iowa. Plaintiff McGrath has also

  displayed, sold, serviced, and advertised its vehicles in Iowa during the Class Period.

            44.   Plaintiff Table Rock is a Nebraska corporation, with its principal place of

  business in Bellevue, Nebraska. Plaintiff Table Rock is an authorized Hyundai dealer, who

  bought Hyundai-brand cars containing Occupant Safety Restraint Systems manufactured by one

  or more of the Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators, during the Class Period.

            45.   During the Class Period Plaintiff Table Rock purchased vehicles containing

  Occupant Safety Restraint Systems manufactured one or more Defendants or their co-

  conspirators. Plaintiff Table Rock also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Table Rock purchased and received both the afore-

  mentioned vehicles and Occupant Safety Restraint Systems in Nebraska. Plaintiff Table Rock

  has also displayed, sold, serviced, and advertised its vehicles in Nebraska during the Class

  Period.

            46.   Plaintiff Archer-Perdue is a Nebraska corporation, with its principal place of

  business in Omaha, Nebraska. Plaintiff Archer-Perdue is an authorized Suzuki dealer, who,

  during the Class Period, has bought Suzuki-brand cars containing Occupant Safety Restraint

  Systems manufactured by one or more of the Defendants or their co-conspirators, as well as

  Occupant Safety Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators.

            47.   During the Class Period Plaintiff Archer-Perdue purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-



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  conspirators. Plaintiff Archer-Perdue also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Archer-Perdue purchased and received both the

  afore-mentioned vehicles and Occupant Safety Restraint Systems in Nebraska. Plaintiff Archer-

  Perdue has also displayed, sold, serviced, and advertised its vehicles in Nebraska during the

  Class Period.

         48.      Plaintiff Lee’s Summit is a Missouri corporation, with its principal place of

  business in Lee’s Summit, Missouri. Plaintiff Lee’s Summit is an authorized Chrysler, Dodge,

  Jeep, Nissan, and Ram dealer, who bought Chrysler-, Dodge-, Jeep-, Nissan-, and Ram-brand

  vehicles containing Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems manufactured

  by one or more of the Defendants or their co-conspirators, during the Class Period.

         49.      During the Class Period Plaintiff Lee’s Summit purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Lee’s Summit also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Lee’s Summit purchased and received both the afore-

  mentioned vehicles and Occupant Safety Restraint Systems in Missouri. Plaintiff Lee’s Summit

  has also displayed, sold, serviced and advertised its vehicles in Missouri during the Class Period.

         50.      Plaintiff Bonneville is a New Hampshire corporation, with its principal place of

  business in Manchester, New Hampshire. Plaintiff Bonneville is an authorized Dodge, Chrysler,

  Jeep, and Ram dealer, who bought Chrysler-, Dodge-, Jeep-, and Ram-brand vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more of the Defendants or their co-



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  conspirators, as well as Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.

         51.     During the Class Period Plaintiff Bonneville purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Bonneville also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Bonneville purchased and received both the afore-

  mentioned vehicles and Occupant Safety Restraint Systems in New Hampshire. Plaintiff

  Bonneville has also displayed, sold, serviced, and advertised its vehicles in New Hampshire

  during the Class Period.

         52.     Plaintiff Holzhauer is a Delaware corporation, with its principal place of business

  in Nashville, Illinois. Plaintiff Holzhauer is an authorized Dodge, Chrysler, and Jeep dealer, who

  bought Dodge-, Chrysler-, and Jeep-brand vehicles containing Occupant Safety Restraint

  Systems manufactured by one or more of the Defendants or their co-conspirators, as well as

  Occupant Safety Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators during the Class Period.

         53.     During the Class Period Plaintiff Holzhauer purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Holzhauer also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Holzhauer purchased and received both the afore-

  mentioned vehicles and Occupant Safety Restraint Systems in Illinois. Plaintiff Holzhauer has

  also displayed, sold, serviced, and advertised its vehicles in Illinois during the Class Period.



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         54.      Plaintiff Pitre is a New Mexico corporation, with its principal place of business in

  Albuquerque, New Mexico. Plaintiff Pitre is an authorized Buick and GMC dealer, who bought

  Buick- and GMC-brand vehicles containing Occupant Safety Restraint Systems manufactured by

  one or more of the Defendants or their co-conspirators, as well as Occupant Safety Restraint

  Systems manufactured by one or more of the Defendants or their co-conspirators, during the

  Class Period.

         55.      During the Class Period Plaintiff Pitre purchased vehicles containing Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-conspirators.

  Plaintiff Pitre also purchased Occupant Safety Restraint Systems, manufactured by one or more

  Defendants or their co-conspirators, for its repair and service business, during the Class Period.

  Plaintiff Pitre purchased and received both the afore-mentioned vehicles and Occupant Safety

  Restraint Systems in New Mexico. Plaintiff Pitre has also displayed, sold, serviced, and

  advertised its vehicles in New Mexico during the Class Period.

         56.      Plaintiff Patsy Lou is a Michigan corporation, with its principal place of business

  in Flint, Michigan. Plaintiff Patsy Lou is an authorized Chevrolet dealer, who bought Chevrolet-

  brand vehicles containing Occupant Safety Restraint Systems manufactured by one or more of

  the Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators, during the Class Period.

         57.      During the Class Period Plaintiff Patsy Lou purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Patsy Lou also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Patsy Lou purchased and received both the afore-



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  mentioned vehicles and Occupant Safety Restraint Systems in Michigan. Plaintiff Patsy Lou has

  also displayed, sold, serviced, and advertised its vehicles in Michigan during the Class Period.

         58.     Plaintiff John Greene is a North Carolina corporation, with its principal place of

  business in Morganton, North Carolina. Plaintiff John Greene is an authorized Chrysler, Dodge,

  Jeep, and Ram dealer, who bought Chrysler-, Dodge-, Jeep-, and Ram-brand vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators, as well as Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.

         59.     During the Class Period Plaintiff John Greene purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff John Greene also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff John Greene purchased and received both the afore-

  mentioned vehicles and Occupant Safety Restraint Systems in North Carolina. Plaintiff John

  Greene has also displayed, sold, serviced, and advertised its vehicles in North Carolina during

  the Class Period.

         60.     Plaintiff Planet Nissan is an Arizona corporation, with its principal place of

  business in Flagstaff, Arizona. Plaintiff Planet Nissan is an authorized Nissan and Subaru dealer,

  who bought Nissan- and Subaru-brand vehicles containing Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators, as well as Occupant

  Safety Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators during the Class Period.




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         61.     During the Class Period Plaintiff Planet Nissan purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Planet Nissan also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Planet Nissan purchased and received both the afore-

  mentioned vehicles and Occupant Safety Restraint Systems in Arizona. Plaintiff Planet Nissan

  has also displayed, sold, serviced, and advertised its vehicles in Arizona during the Class Period.

         62.     Plaintiff Champion is a Nevada corporation, with its principal place of business in

  Reno, Nevada. Plaintiff Champion is an authorized Chevrolet dealer, who bought Chevrolet-

  brand vehicles containing Occupant Safety Restraint Systems manufactured by one or more of

  the Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators during the Class Period.

         63.     During the Class Period Plaintiff Champion purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Champion also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Champion purchased and received both the afore-

  mentioned vehicles and Occupant Safety Restraint Systems in Nevada. Plaintiff Champion has

  also displayed, sold, serviced, and advertised its vehicles in Nevada during the Class Period.

         64.     Plaintiff Commonwealth Motors is a Delaware corporation, with its principal

  place of business in Lawrence, Massachusetts. Plaintiff Commonwealth Motors is an authorized

  Chevrolet, Honda, and Kia dealer, who bought Chevrolet-, Honda-, and Kia-brand vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more of the Defendants



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  or their co-conspirators, as well as Occupant Safety Restraint Systems manufactured by one or

  more of the Defendants or their co-conspirators during the Class Period.

         65.     During the Class Period Plaintiff Commonwealth Motors purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more Defendants or their

  co-conspirators. Plaintiff Commonwealth Motors also purchased Occupant Safety Restraint

  Systems, manufactured by one or more Defendants or their co-conspirators, for its repair and

  service business, during the Class Period. Plaintiff Commonwealth Motors purchased and

  received both the afore-mentioned vehicles and Occupant Safety Restraint Systems in

  Massachusetts. Plaintiff Commonwealth Motors has also displayed, sold, serviced, and

  advertised its vehicles in Massachusetts during the Class Period.

         66.     Plaintiff Commonwealth Volkswagen is a Massachusetts corporation with its

  principal place of business in Lawrence, Massachusetts. Plaintiff Commonwealth Volkswagen is

  an authorized Volkswagen dealer, who bought Volkswagen-brand vehicles containing Occupant

  Safety Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators, as well as Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.

         67.     During the Class Period Plaintiff Commonwealth Volkswagen purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more Defendants or their

  co-conspirators. Plaintiff Commonwealth Volkswagen also purchased Occupant Safety Restraint

  Systems, manufactured by one or more Defendants or their co-conspirators, for its repair and

  service business, during the Class Period. Plaintiff Commonwealth Volkswagen purchased and

  received both the afore-mentioned vehicles and Occupant Safety Restraint Systems in




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  Massachusetts. Plaintiff Commonwealth Volkswagen has also displayed, sold, serviced and

  advertised its vehicles in Massachusetts during the Class Period.

         68.     Plaintiff Commonwealth Nissan is a Massachusetts corporation with its principal

  place of business in the Lawrence, Massachusetts. Plaintiff Commonwealth Nissan is an

  authorized Nissan dealer, who bought Nissan-brand vehicles containing Occupant Safety

  Restraint Systems manufactured by one or more of the Defendants or their co-conspirators, as

  well as Occupant Safety Restraint Systems manufactured by one or more of the Defendants or

  their co-conspirators during the Class Period.

         69.     During the Class Period Plaintiff Commonwealth Nissan purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more Defendants or their

  co-conspirators. Plaintiff Commonwealth Nissan also purchased Occupant Safety Restraint

  Systems, manufactured by one or more Defendants or their co-conspirators, for its repair and

  service business, during the Class Period. Plaintiff Commonwealth Nissan purchased and

  received both the afore-mentioned vehicles and Occupant Safety Restraint Systems in

  Massachusetts. Plaintiff Commonwealth Nissan has also displayed, sold, serviced, and

  advertised its vehicles in Massachusetts during the Class Period.

         70.     Plaintiff Ramey is a West Virginia company with its principal place of business in

  Princeton, West Virginia. Plaintiff Ramey is an authorized Toyota, Chrysler, Dodge, Jeep, and

  Ram dealer, who bought Toyota-, Chrysler-, Dodge-, Jeep-, and Ram-brand vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators, as well as Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.




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            71.   During the Class Period Plaintiff Ramey purchased vehicles containing Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-conspirators.

  Plaintiff Ramey also purchased Occupant Safety Restraint Systems, manufactured by one or

  more Defendants or their co-conspirators, for its repair and service business, during the Class

  Period. Plaintiff Ramey purchased and received both the afore-mentioned vehicles and

  Occupant Safety Restraint Systems in West Virginia. Plaintiff Ramey has also displayed, sold,

  serviced, and advertised its vehicles in West Virginia during the Class Period.

            72.   Plaintiff Thornhill is a West Virginia corporation, with its principal place of

  business in Chapmanville, West Virginia. Plaintiff Thornhill is an authorized Chevrolet, Buick,

  and GMC dealer, who bought Chevrolet-, Buick-, and GMC-brand vehicles containing Occupant

  Safety Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators, as well as Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.

            73.   During the Class Period Plaintiff Thornhill purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Thornhill also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Thornhill purchased and received both the afore-

  mentioned vehicles and Occupant Safety Restraint Systems in West Virginia. Plaintiff Thornhill

  has also displayed, sold, serviced, and advertised its vehicles in West Virginia during the Class

  Period.

            74.   Plaintiff Lakeland is a Wisconsin corporation with its principal place of business

  in Sheboygan, Wisconsin. Plaintiff Lakeland is an authorized Toyota, Honda, Mazda, and



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  Subaru dealer who bought Toyota- Honda-, Mazda-, and Subaru-brand vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators, as well as Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.

         75.     During the Class Period Plaintiff Lakeland purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Lakeland also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Lakeland purchased and received both the afore-

  mentioned vehicles and Occupant Safety Restraint Systems in Wisconsin. Plaintiff Lakeland has

  also displayed, sold, serviced, and advertised its vehicles in Wisconsin during the Class Period.

         76.     Plaintiff Salt Lake Valley is a Utah company, with its principal place of business

  in Salt Lake City, Utah. Plaintiff Salt Lake Valley is an authorized Buick and GMC dealer, who

  bought Buick- and GMC-brand vehicles containing Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators, as well as Occupant

  Safety Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators during the Class Period.

         77.     During the Class Period Plaintiff Salt Lake Valley purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Salt Lake Valley also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Salt Lake Valley purchased and received both the

  afore-mentioned vehicles and Occupant Safety Restraint Systems in Utah. Plaintiff Salt Lake



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  Valley has also displayed, sold, serviced, and advertised its vehicles in Utah during the Class

  Period.

            78.   Plaintiff Capitol Chevrolet is an Oregon corporation, with its principal place of

  business in Salem, Oregon. Plaintiff Capitol Chevrolet is an authorized Chevrolet, Cadillac, and

  Subaru dealer, who bought Chevrolet-, Cadillac-, and Subaru-brand vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators, as well as Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.

            79.   During the Class Period Plaintiff Capitol Chevrolet purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Capitol Chevrolet also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Capitol Chevrolet purchased and received both the

  afore-mentioned vehicles and Occupant Safety Restraint Systems in Oregon. Plaintiff Capitol

  Chevrolet has also displayed, sold, serviced, and advertised its vehicles in Oregon during the

  Class Period.

            80.   Plaintiff Capitol Toyota is an Oregon corporation with its principal place of

  business in Salem, Oregon. Plaintiff Capitol Toyota is an authorized Toyota dealer, who bought

  Toyota-brand vehicles containing Occupant Safety Restraint Systems manufactured by one or

  more of the Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators during the Class Period.

            81.   During the Class Period Plaintiff Capitol Toyota purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-



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  conspirators. Plaintiff Capitol Toyota also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Capitol Toyota purchased and received both the

  afore-mentioned vehicles and Occupant Safety Restraint Systems in Oregon. Plaintiff Capitol

  Toyota has also displayed, sold, serviced, and advertised its vehicles in Oregon during the Class

  Period.

            82.   Plaintiff Beck is a South Dakota corporation, with its principal place of business

  in Pierre, South Dakota. Plaintiff Beck is an authorized Chevrolet and Cadillac dealer, who

  bought Chevrolet- and Cadillac-brand vehicles containing Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators, as well as Occupant

  Safety Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators during the Class Period.

            83.   During the Class Period Plaintiff Beck purchased vehicles containing Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-conspirators.

  Plaintiff Beck also purchased Occupant Safety Restraint Systems, manufactured by one or more

  Defendants or their co-conspirators, for its repair and service business, during the Class Period.

  Plaintiff Beck purchased and received both the afore-mentioned vehicles and Occupant Safety

  Restraint Systems in South Dakota. Plaintiff Beck has also displayed, sold, serviced, and

  advertised its vehicles in South Dakota during the Class Period.

            84.   Plaintiff Wade is a Utah corporation, with its principal place of business in St.

  George, Utah. Plaintiff Wade is an authorized Toyota dealer, who bought Toyota-brand cars

  containing Occupant Safety Restraint Systems manufactured by the Defendants or their co-




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  conspirators, as well as Occupant Safety Restraint Systems manufactured by the Defendants or

  their co-conspirators during the Class Period.

         85.     During the Class Period Plaintiff Wade purchased vehicles containing Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-conspirators.

  Plaintiff Wade also purchased Occupant Safety Restraint Systems, manufactured by one or more

  Defendants or their co-conspirators, for its repair and service business, during the Class Period.

  Plaintiff Wade purchased and received both the afore-mentioned vehicles and Occupant Safety

  Restraint Systems in Utah. Plaintiff Wade has also displayed, sold, serviced, and advertised its

  vehicles in Utah during the Class Period.

         86.     Plaintiff Johnson is a Mississippi limited liability company, with its principal

  place of business in Meridian, Mississippi. Plaintiff Johnson is an authorized Toyota dealer, who

  bought Toyota-brand cars containing Occupant Safety Restraint Systems manufactured by the

  Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems manufactured

  by the Defendants or their co-conspirators during the Class Period.

         87.     During the Class Period Plaintiff Johnson purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Johnson also purchased Occupant Safety Restraint Systems manufactured

  by one or more Defendants or their co-conspirators, for its repair and service business, during the

  Class Period. Plaintiff Johnson purchased and received both the afore-mentioned vehicles and

  Occupant Safety Restraint Systems in Mississippi. Plaintiff Johnson has also displayed, sold,

  serviced, and advertised its vehicles in Mississippi during the Class Period.

         88.     Plaintiff Hartley is a New York corporation, with its principal place of business in

  Jamestown, New York. During the Class Period, Plaintiff Hartley has been an authorized



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  Honda, Buick, Pontiac, and GM dealer, who bought Honda-, Buick-, Pontiac-, and GM-brand

  cars containing Occupant Safety Restraint Systems manufactured by the Defendants or their co-

  conspirators, as well as Occupant Safety Restraint Systems manufactured by the Defendants or

  their co-conspirators.

         89.     During the Class Period Plaintiff Hartley purchased vehicles containing Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-conspirators.

  Plaintiff Hartley also purchased Occupant Safety Restraint Systems manufactured by one or

  more Defendants or their co-conspirators, for its repair and service business, during the Class

  Period. Plaintiff Hartley purchased and received both the afore-mentioned vehicles and

  Occupant Safety Restraint Systems in New York. Plaintiff Hartley has also displayed, sold,

  serviced, and advertised its vehicles in New York during the Class Period.

         90.     Plaintiff Lee Honda is a Maine corporation, with its principal place of business in

  Auburn, Maine. Plaintiff Lee Honda is an authorized Honda dealer, who bought Honda-brand

  cars containing Occupant Safety Restraint Systems manufactured by the Defendants or their co-

  conspirators, as well as Occupant Safety Restraint Systems manufactured by the Defendants or

  their co-conspirators during the Class Period.

         91.     During the Class Period Plaintiff Lee Honda purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Lee Honda also purchased Occupant Safety Restraint Systems

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Lee Honda purchased and received both the afore-

  mentioned vehicles and Occupant Safety Restraint Systems in Maine. Plaintiff Lee Honda has

  also displayed, sold, serviced, and advertised its vehicles in Maine during the Class Period.



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         92.     Plaintiff Topsham is a Maine corporation, with its principal place of business in

  Topsham, Maine. Plaintiff Topsham is an authorized Toyota dealer, who bought Toyota-brand

  cars containing Occupant Safety Restraint Systems manufactured by the Defendants or their co-

  conspirators, as well as Occupant Safety Restraint Systems manufactured by the Defendants or

  their co-conspirators during the Class Period.

         93.     During the Class Period Plaintiff Topsham purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Topsham also purchased Occupant Safety Restraint Systems

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Topsham purchased and received both the afore-

  mentioned vehicles and Occupant Safety Restraint Systems in Maine. Plaintiff Topsham has

  also displayed, sold, serviced, and advertised its vehicles in Maine during the Class Period.

         94.     Plaintiff Hazelwood is an Arkansas corporation, with its principal place of

  business in Hazelwood, Missouri. Plaintiff Hazelwood is an authorized Toyota dealer, who

  bought Toyota-brand cars containing Occupant Safety Restraint Systems manufactured by the

  Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems manufactured

  by the Defendants or their co-conspirators during the Class Period.

         95.     During the Class Period Plaintiff Hazelwood purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Hazelwood also purchased Occupant Safety Restraint Systems

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Hazelwood purchased and received both the afore-




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  mentioned vehicles and Occupant Safety Restraint Systems in Missouri. Plaintiff Hazelwood

  has also displayed, sold, serviced, and advertised its vehicles in Missouri during the Class Period.

         96.     Plaintiff Cannon is a Mississippi corporation, with its principal place of business

  in Greenwood, Mississippi. Plaintiff Cannon is an authorized Chevrolet and Cadillac dealer,

  who bought Chevrolet- and Cadillac-brand cars containing Occupant Safety Restraint Systems

  manufactured by the Defendants or their co-conspirators, as well as Occupant Safety Restraint

  Systems manufactured by the Defendants or their co-conspirators during the Class Period.

         97.     During the Class Period Plaintiff Cannon purchased vehicles containing Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-conspirators.

  Plaintiff Cannon also purchased Occupant Safety Restraint Systems manufactured by one or

  more Defendants or their co-conspirators, for its repair and service business, during the Class

  Period. Plaintiff Cannon purchased and received both the afore-mentioned vehicles and

  Occupant Safety Restraint Systems in Mississippi. Plaintiff Cannon has also displayed, sold,

  serviced, and advertised its vehicles in Mississippi during the Class Period.

         98.     Plaintiff Cannon Nissan is a Mississippi limited liability company with its

  principal place of business in Jackson, Mississippi. Plaintiff Cannon is an authorized Nissan

  dealer, who bought Nissan-brand cars containing Occupant Safety Restraint Systems

  manufactured by the Defendants or their co-conspirators, as well as Occupant Safety Restraint

  Systems manufactured by the Defendants or their co-conspirators during the Class Period.

         99.     During the Class Period Plaintiff Cannon Nissan purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Cannon Nissan also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service



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  business, during the Class Period. Plaintiff Cannon purchased and received both the afore-

  mentioned vehicles and Occupant Safety Restraint Systems in Mississippi. Plaintiff Cannon has

  also displayed, sold, serviced, and advertised its vehicles in Mississippi during the Class Period.

            100.   Plaintiff Hudson Nissan is a South Carolina limited liability company with its

  principal place of business in North Charleston, South Carolina. Plaintiff Hudson Nissan is an

  authorized Nissan dealer, who bought Nissan-brand cars containing Occupant Safety Restraint

  Systems manufactured by the Defendants or their co-conspirators, as well as Occupant Safety

  Restraint Systems manufactured by the Defendants or their co-conspirators during the Class

  Period.

            101.   During the Class Period Plaintiff Hudson Nissan purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators. Plaintiff Hudson Nissan also purchased Occupant Safety Restraint Systems,

  manufactured by one or more Defendants or their co-conspirators, for its repair and service

  business, during the Class Period. Plaintiff Hudson Nissan purchased and received both the

  afore-mentioned vehicles and Occupant Safety Restraint Systems in South Carolina. Plaintiff

  Hudson Nissan has also displayed, sold, serviced, and advertised its vehicles in South Carolina

  during the Class Period.

            102.   Plaintiff Shearer is a Vermont corporation with its principal place of business in

  Rutland, Vermont. Plaintiff Shearer is an authorized Honda dealer, who bought Honda-brand

  vehicles containing Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems manufactured

  by one or more of the Defendants or their co-conspirators during the Class Period.




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            103.   During the Class Period Plaintiff Shearer purchased vehicles containing Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-conspirators.

  Plaintiff Shearer also purchased Occupant Safety Restraint Systems manufactured by one or

  more Defendants or their co-conspirators, for its repair and service business, during the Class

  Period.     Plaintiff Shearer purchased and received both the afore-mentioned vehicles and

  Occupant Safety Restraint Systems in Vermont. Plaintiff Shearer has also displayed, sold,

  serviced and advertised its vehicles in Vermont during the Class Period.

            104.   Plaintiff Apex is a Vermont corporation with its principal place of business in

  South Burlington, Vermont. Plaintiff Apex is an authorized Acura dealer, who bought Acura-

  brand vehicles containing Occupant Safety Restraint Systems manufactured by one or more of

  the Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators during the Class Period.

            105.   During the Class Period Plaintiff Apex purchased vehicles containing Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-conspirators.

  Plaintiff Apex also purchased Occupant Safety Restraint Systems, manufactured by one or more

  Defendants or their co-conspirators, for its repair and service business, during the Class Period.

  Plaintiff Apex purchased and received both the afore-mentioned vehicles and Occupant Safety

  Restraint Systems in Vermont. Plaintiff Apex has also displayed, sold, serviced and advertised

  its vehicles in Vermont during the Class Period.

            The Defendants

            TRW Defendants

            106.   Defendant TRW Automotive Holdings Corp. (“TRW U.S.”) is a Delaware

  corporation with its principal place of business in Livonia, Michigan. TRW U.S., directly or



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  through its wholly-owned and/or controlled subsidiaries, manufactured, marketed, and/or sold

  Occupant Safety Restraint Systems that were purchased throughout the United States, including

  in this district, during the Class Period, including by firms that sold such Occupant Safety

  Restraint Systems to Plaintiffs and class members.

          107.    Defendant TRW Deutschland Holding Gmbh (“TRW Germany”) is a German

  corporation with its principal place of business in Koblenz, Germany. Defendant TRW Germany

  is a subsidiary of and wholly-owned and/or controlled by Defendant TRW U.S. Defendant TRW

  Germany, directly and/or through its subsidiaries which it wholly owned and/or controlled,

  manufactured, marketed and/or sold Occupant Safety Restraint Systems that were purchased

  throughout the United States, including in this district, during the Class Period, including by

  firms that sold such Occupant Safety Restraint Systems to Plaintiffs and class members. At all

  times during the Class Period, its activities were under the control and direction of TRW U.S.,

  which controlled its policies, sales, and finances.

          108.    TRW Germany and TRW U.S. are collectively referred to as “TRW.”

          Takata Defendants

          109.    Defendant Takata Corp. is a Japanese corporation with its principal place of

  business in Tokyo, Japan. Defendant Takata Corp. directly and/or through its subsidiaries, which

  it wholly owned and/or controlled, manufactured, marketed, and/or sold Occupant Safety

  Restraint Systems that were purchased throughout the United States, including in this district,

  during the Class Period, including by firms that sold such Occupant Safety Restraint Systems to

  Plaintiffs and class members.

          110.    Defendant TK Holdings, Inc. (“TK”), is a Delaware corporation with its principal

  place of business in Auburn Hills, Michigan. It is a subsidiary of and wholly owned and/or



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  controlled by its Japanese parent, Takata. Defendant TK manufactured, marketed, and/or sold

  Occupant Safety Restraint Systems that were purchased throughout the United States, including

  in this district, during the Class Period including by firms that sold such Occupant Safety

  Restraint Systems to Plaintiffs and class members. At all times during the Class Period, its

  activities in the United States were under the control and direction of its Japanese parent, which

  controlled its policies, sales, and finances.

          111.    Executives who have worked at Takata Corp., in Japan, have also worked at TK,

  in the U.S. Yoshiyasu Kikuchi, an executive officer at Takata Corp. is a director at TK. Yoichiro

  Nomura, the Chief Financial Officer at Takata Corp. is a director at TK. Juichiro Takada, the

  former Chairman and CEO of Takata Corp. was also a director at TK. Shunkichi Shimizu, a

  former executive officer at Takata Corp., in charge of “America Operations” was also the

  president and secretary of TK Holdings. Takata Corporation also refers to TK Holdings as its

  American headquarters, stating “Takata’s regional headquarters for the Americas is in Auburn

  Hills, Michigan.”

          112.    Takata has targeted the U.S. and U.S. customers in myriad ways. Takata’s annual

  report states that “Takata and GM jointly developed a front center airbag, which will be installed

  in GM’s 2013 models.” http://www.takata.com/ir/pdf/material05/120831ar_en.pdf at 36.

  Takata’s 2011 report states that “auto industry in North America is expected to continue its

  recovery, and we will tap growing demand for high value added safety products such as curtain

  airbags and side airbags . . . ” http://www.takata.com/ir/pdf/material05/110829ar_en.pdf at 11.

  Takata’s 2011 report reviewed new U.S. regulations regarding automotive restraints, which it

  deemed “driver[s] of growth,” for its business. Id. at 20. Takata’s report also announces that

  “[i]n April 2010, Takata Corporation was chosen by Ford Motor Company to be one of 13



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  suppliers newly added to Ford’s Aligned Business Framework (ABF) for closer collaboration

  and long-term partnership.” It also states that “[t]he close proximity of Ford and Takata’s North

  American headquarters in southeast Michigan has enabled synergies that in recent years have

  strengthened the partnership between the two companies.” Id. at 22. Takata’s report also

  mentions specific initiatives aimed at the U.S. market including “buckle-up campaigns, child

  restraint training sessions at maternity classes, anti drunk driving campaigns, and skill

  improvement courses such as those we run in the United States.”

          113.    Defendants Takata Corp. and TK are collectively referred to as “Takata.”

          Autoliv Defendants

          114.    Defendant Autoliv, Inc. (“Autoliv”) is a Delaware corporation with its principal

  place of business in Stockholm, Sweden. Defendant Autoliv, Inc.—directly and/or through its

  subsidiaries, which it wholly owned and/or controlled—manufactured, marketed, and/or sold

  Occupant Safety Restraint Systems that were purchased throughout the United States, including

  in this district, during the Class Period including by firms that sold such Occupant Safety

  Restraint Systems to Plaintiffs and class members.

          115.    Defendant Autoliv ASP, Inc. is an Indiana corporation with its principal place of

  business in Ogden, Utah. It is a subsidiary of and wholly owned and/or controlled by its Swedish

  parent, Autoliv, Inc. Defendant Autoliv ASP, Inc. manufactured, marketed, and/or sold Occupant

  Safety Restraint Systems that were purchased throughout the United States, including in this

  district, during the Class Period, including by firms that sold such Occupant Safety Restraint

  Systems to Plaintiffs and class members. At all times during the Class Period, its activities in the

  United States were under the control and direction of its Swedish parent, which controlled its

  policies, sales, and finances.



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          116.    Defendant Autoliv B.V. & Co. KG is a German corporation with its principal

  place of business in Elmshorn, Germany. It is a subsidiary of and wholly owned and/or

  controlled by its Swedish parent, Autoliv, Inc. Defendant Autoliv B.V. & Co. KG manufactured,

  marketed, and/or sold Occupant Safety Restraint Systems that were purchased throughout the

  United States, including in this district, during the Class Period including by firms that sold such

  Occupant Safety Restraint Systems to Plaintiffs and class members. At all times during the Class

  Period, its activities in the United States were under the control and direction of its Swedish

  parent, which controlled its policies, sales, and finances.

          117.    Autoliv Japan Ltd. is a Japanese corporation with its principal place of business in

  Yokohama, Japan. It is a wholly owned and/or controlled subsidiary of Autoliv, Inc. Autoliv

  Japan Ltd. manufactured, marketed, and/or sold Automobile Occupant Safety Systems that were

  purchased throughout the United States, including in this district, the Class Period, including by

  firms that sold such Occupant Safety Restraint Systems to Plaintiffs and class members. At all

  times during the Class Period, its activities in the United States were under the control and

  direction of its Swedish parent, which controlled its policies, sales, and finances.

          118.    Defendants Autoliv, Inc., Autoliv ASP, Inc., Autoliv B.V. & Co. KG and Autoliv

  Japan Ltd. are collectively referred to as “Autoliv.”

          Tokai Rika Defendants

          119.    Defendant Tokai Rika Co., Ltd. is a Japanese corporation with its principal place

  of business in Aichi, Japan. Defendant Tokai Rika Co., Ltd.—directly and/or through its

  subsidiaries, which it wholly owned and/or controlled—manufactured, marketed, and/or sold

  Occupant Safety Restraint Systems that were purchased throughout the United States, including




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  in this district, during the Class Period, including by firms that sold such Occupant Safety

  Restraint Systems to Plaintiffs and class members.

         120.     Defendant TRAM, Inc. d/b/a Tokai Rika U.S.A. Inc. is a Michigan corporation

  with its principal place of business in Plymouth, Michigan. It is a subsidiary of and wholly

  owned and/or controlled by its Japanese parent, Tokai Rika Co., Ltd. Defendant TRAM, Inc.

  d/b/a Tokai Rika U.S.A. Inc. manufactured, marketed, and/or sold Occupant Safety Restraint

  Systems that were purchased throughout the United States, including in this district, during the

  Class Period, including by firms that sold such Occupant Safety Restraint Systems to Plaintiffs

  and class members. At all times during the Class Period, its activities in the United States were

  under the control and direction of its Japanese parent, which controlled its policies, sales, and

  finances.

         121.     Executives who have worked at Tokai Rika Co. Ltd. have also worked at TRAM,

  Inc. For instance, Masayuki Morita, the President and Chief Operating Officer at TRAM, Inc.

  previously served as a Managing Director and Director at Tokai Rika Co., Ltd. Yoshihei Iida,

  the former Chairman of Tokai Rika Co. Ltd., is a Board member at TRAM, Inc. Kiyoshi

  Kinoshita, the former Chairman of the Board and Representative Director, at Tokai Rika Co.

  Ltd., was also previously the President of TRAM, Inc.

         122.     The same year that TRAM was established in the U.S., Tokai Rika received its

  “QS9000 certification,” a quality standard the possession of which was required by the three

  major U.S. manufacturers: Ford, GM and Chrysler.

         123.     Defendants Tokai Rika Co., Ltd. and TRAM, Inc. are collectively referred to as

  “Tokai Rika.”




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                                AGENTS AND CO-CONSPIRATORS

          124.    Each Defendant acted as the principal of or agent for the other Defendant with

  respect to the acts, violations, and common course of conduct alleged.

          125.    Various persons, partnerships, sole proprietors, firms, corporations, and

  individuals not named as Defendants in this lawsuit, the identities of which are presently

  unknown, have participated as co-conspirators with Defendants in the offenses alleged in this

  Complaint, and have performed acts and made statements in furtherance of the conspiracy or in

  furtherance of the anti-competitive conduct.

          126.    Whenever in this Complaint reference is made to any act, deed, or transaction of

  any corporation or limited liability entity, the allegation means that the corporation or limited

  liability entity engaged in the act, deed, or transaction by or through its officers, directors, agents,

  employees, or representatives while they were actively engaged in the management, direction,

  control, or transaction of the corporation’s or limited liability entity’s business or affairs.

                                     FACTUAL ALLEGATIONS

          A.      The Occupant Safety Restraint Systems Industry

          127.    Occupant Safety Restraint Systems are generally comprised of the parts in an

  automotive vehicle that protect drivers and passengers from bodily harm. Occupant Safety

  Restraint Systems include seat belts, air bags, steering wheels (or steering systems), and safety

  electronic systems.




          Figure 1

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         128.    Occupant Safety Restraint Systems are installed by automobile original

  equipment manufacturers (“OEMs”) in new cars as part of the automotive manufacturing

  process. They are also installed in cars to replace worn out, defective, or damaged Occupant

  Safety Restraint Systems.

         129.    When purchasing Occupant Safety Restraint Systems, OEMs issue Requests for

  Quotation (“RFQs”) to automotive parts suppliers—Occupant Safety Restraint Systems are not

  commodity items. Automotive parts suppliers submit quotations, or bids, to OEMs in response

  to RFQs and the OEMs usually award the business to the selected automotive parts supplier for

  four to six years. Typically, the bidding process begins approximately three years prior to the

  start of production of a new model.

         130.    Suppliers, including Defendants, supply OEMs with both Occupant Safety

  Restraint Systems to be installed in vehicles and Occupant Safety Restraint Systems to be used

  for replacement purposes.

         131.    The Defendants and their co-conspirators supplied Occupant Safety Restraint

  Systems to OEMs for installation in vehicles manufactured and sold in the United States and

  elsewhere. The Defendants and their co-conspirators manufactured Occupant Safety Restraint

  Systems (a) in the United States for installation in vehicles manufactured and sold in the United

  States, (b) abroad for export to the United States and installation in vehicles manufactured and

  sold in the United States, and (c) abroad for installation in vehicles manufactured abroad for

  export to and sale in the United States.

         132.    TRW’s main customers include: GM, Chrysler, Ford, Mercedes, Renault, Nissan,

  Fiat, Toyota, BMW, Honda, Hyundai and Volkswagen.




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         133.   Takata’s main customers include: Toyota, Honda, BMW, Mazda, Nissan, GM,

  Chrysler and Ford.

         134.   Autoliv’s main customers include: GM, Ford, Nissan, Renault, Hyundai, Kia,

  VW, Chrysler, Fiat, Honda, Toyota, BMW, Mercedes, Daimler and Volvo.

         135.   Tokai Rika’s main customers include: Toyota, Subaru, SAAB, Volvo, Nissan,

  Subaru, Isuzu, GM, Ford, Suzuki, Mazda, Isuzu, Mitsubishi and Chrysler.

         136.   Plaintiffs and members of the proposed Classes purchased Occupant Safety

  Restraint Systems indirectly from the Defendants and their co-conspirators. By way of example,

  automobile dealers indirectly purchase Occupant Safety Restraint Systems from the Defendants

  when they purchase new vehicles to sell or lease to consumers. Likewise, when repairing a

  damaged vehicle or when the vehicle’s Occupant Safety Restraint Systems are defective,

  Plaintiffs and other automobile dealers indirectly purchase replacement Occupant Safety

  Restraint Systems from Defendants.

         137.   Replacement Occupant Safety Restraint Systems sold by OEMs to dealerships are

  the same as the Occupant Safety Restraint Systems installed in vehicles and are made by the

  same manufacturer who made the Occupant Safety Restraint Systems originally installed—that

  is the purpose of an OEM part, made by the OEM supplier. Such replacement parts are not the

  same as aftermarket parts, which are made by different manufacturers than those who

  manufactured the original parts. The prices of replacement Occupant Safety Restraint Systems

  were inflated by Defendants’ collusion.

         138.   According to Autoliv’s 2011 Annual Report, the global market for Occupant

  Safety Restraint Systems in 2010 was $18.1 billion and the North American market for Occupant

  Safety Restraint Systems was $4.2 billion.



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          139.   The global Occupant Safety Restraint Systems market is dominated and

  controlled by large manufacturers, the top three of which are Defendants who control almost

  75% of the market. The Autoliv Defendants account for more than 33% of the global market for

  Occupant Safety Restraint Systems; as Autoliv states in its 2011 Annual Report, it is “the

  world’s largest automotive safety supplier with sales to all the leading car manufacturers in the

  world.” TRW accounts for approximately 20% of the global market for Occupant Safety

  Restraint Systems. And the Takata Defendants account for approximately 20% of the Occupant

  Safety Restraint Systems global market.

          140.   By virtue of their market shares, Defendants are the dominant manufacturers and

  suppliers of Occupant Safety Restraint Systems in the United States and the world.

          141.   Airbags are a type of Occupant Safety Restraint System. Airbags are occupant

  restraints designed to control the movement of an occupant inside a vehicle in the event of a

  collision. An Airbag consists of a light fabric air bag, an inflator, which, through use of

  pressurized gas (typically generated by pyrotechnic materials), rapidly inflates the Airbag upon

  deployment, and an initiator to initiate the deployment. It may also include, depending on the

  requirements of the vehicle manufacturer, an injection molded plastic decorative cover or other

  devices associated with the Airbag. According to the National Highway Traffic Safety

  Administration, a typical new Airbag retailed for approximately $1,000 from a car dealer in

  2011.

          142.   In 2012, the total dollar-value of Airbags sold in the U.S. reached $6.7 billion.

          143.   According to Autoliv’s website, it manufactures more than one-third of the

  Airbags sold in North America, and according to its 2011 10-K, Autoliv manufactures more than




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  40% of the side Airbags and almost 30% of the frontal Airbags sold in the world. TRW and

  Takata are also major manufacturers of Airbags.

         144.    Seatbelts are another type of Occupant Safety Restraint System. Seatbelts are

  safety strap restraints designed to secure an occupant in position in a vehicle in the event of a

  collision. A Seatbelt includes belt webbing, a buckle, a retractor, and hardware for installation in

  a vehicle. It may also include, depending on the requirements of the vehicle manufacturer, a

  height adjuster, a pretensioner, or other devices associated with the Seatbelt. In 2012, the total

  dollar-value of Seatbelts sold in the U.S. reached over $900 million.

         145.    According to Autoliv’s website, it manufactures almost one-third of the Seatbelts

  sold in North America, and according to its 2011 10-K, Autoliv manufactures 40% of the

  Seatbelts sold in the world. TRW and Takata are also major manufacturers of Seatbelts.

         146.    Steering Wheels are another type of Occupant Safety Restraint System. Steering

  Wheels consist of a die-cast armature (frame) covered by molded polyurethane. Steering Wheels

  are then finished with leather, wood trim, or plastic, and may include various electronic features

  and controls, depending on the requirements of a vehicle manufacturer.

         147.     In 2012, the dollar-value for Steering Wheels and related components sold in the

  U.S. reached $2.24 billion.

         148.    According to its website, Autoliv manufactures more than 15% of the Steering

  Wheels sold in North America, and in its 2011 10-K, Autoliv states that it manufactures almost

  30% of the Steering Wheels sold in the world. TRW and Takata are also major manufacturers of

  Steering Wheels.



         B.      The Structure and Characteristics of the Occupant Safety Restraint Systems
                 Market Render the Conspiracy More Plausible.


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         149.    The structure and other characteristics of the Occupant Safety Restraint Systems

  market in the United States are conducive to a price-fixing agreement, and have made collusion

  particularly attractive in these markets. Specifically, the Occupant Safety Restraint Systems

  market: (1) has high barriers to entry; (2) has inelasticity of demand; (3) is highly concentrated;

  and (4) is rife with opportunities to conspire.

     1. The Occupant Safety Restraint Systems Market Has High Barriers to Entry.

         150.    A collusive arrangement that raises product prices above competitive levels

  would, under basic economic principles, attract new entrants seeking to benefit from the supra-

  competitive pricing. Where, however, there are significant barriers to entry, new entrants are

  less likely. Thus, barriers to entry help facilitate the formation and maintenance of a cartel.

         151.    There are substantial barriers that preclude, reduce, or make more difficult entry

  into the Occupant Safety Restraint Systems market. A new entrant into the business would face

  costly and lengthy start-up costs, including multi-million dollar costs associated with

  manufacturing plants and equipment, energy, transportation, distribution infrastructure, skilled

  labor, and long-standing customer relationships.

         152.    In addition, an OEM cannot freely change its suppliers of Occupant Safety

  Restraint Systems because OEMs design the features of their vehicles, including the electronics,

  mechanics, thermal distribution, and other features, so that they may be integrated with a

  selected Occupant Safety Restraint System. Thus, it would be difficult for a new competitor to

  enter the market after a vehicle has been specifically designed to be integrated with a particular

  Occupant Safety Restraint System.

         153.    Research and development costs are also significant for Occupant Safety Restraint

  Systems, creating an additional barrier to entry. Airbags are constantly researched for better



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  deployment speeds, Seatbelts are constantly researched for better functionality and quality, and

  Steering Wheels are constantly researched for better precision and rotation.

         154.    Defendants also own several patents for Occupant Safety Restraint Systems. For

  example, TRW owns Airbag, Steering Wheel and Seatbelt patents. These patents place a

  significant and costly burden on potential new entrants, who must avoid infringing on the patents

  when entering the market with a new product.

     2. There is Inelasticity of Demand for Occupant Safety Restraint Systems.

         155.    “Elasticity” is a term used to describe the sensitivity of supply and demand to

  changes in one or the other. For example, demand is said to be “inelastic” if an increase in the

  price of a product results in only a small decline in the quantity sold of that product, if any. In

  other words, customers have nowhere to turn for alternative, cheaper products of similar quality,

  and so continue to purchase despite a price increase.

         156.     For a cartel to profit from raising prices above competitive levels, demand must

  be relatively inelastic at competitive prices. Otherwise, increased prices would result in

  declining sales, revenues, and profits, as customers purchased substitute products or declined to

  buy altogether. Inelastic demand is a market characteristic that facilitates collusion, allowing

  producers to raise their prices without triggering customer substitution and lost sales revenue.

         157.    Demand for Occupant Safety Restraint Systems is highly inelastic. This is

  because there are no close substitutes for these products. Additionally, customers must purchase

  Occupant Safety Restraint Systems as essential parts of a vehicle, regardless of whether prices

  are kept at supra-competitive levels. Customers wanting to purchase a car simply have no choice

  but to purchase Occupant Safety Restraint Systems.

     3. The Market for Occupant Safety Restraint Systems is Highly Concentrated.



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         158.     Defendants dominate the Occupant Safety Restraint Systems market. Three of the

  Defendants control almost 75% of the global market.

     4. Defendants Had Ample Opportunities to Conspire

         159.    Defendants attended industry events where they had the opportunity to meet, have

  improper discussions under the guise of legitimate business contacts, and perform acts necessary

  for the operation and furtherance of the conspiracy. In a June 6, 2012, press release, the DOJ

  explained that Defendant Autoliv and its co-conspirators met in secret and agreed to allocate the

  supply of various automotive parts. According to the Autoliv information, Autoliv and its

  coconspirators participated in meetings, conversations and communications to discuss and agree

  on the bids and price quotations to be submitted to certain automobile manufacturers for

  Occupant Safety Restraint Systems, and agreed, during meetings, conversations and

  communications, to allocate the supply of Occupant Safety Restraint Systems sold to certain

  automobile manufacturers on a model-by-model basis.

         C.      Government Investigations

         160.    A globally coordinated antitrust investigation is taking place in the United States,

  Europe, Canada, and Japan, aimed at suppliers of automotive parts in general and Occupant

  Safety Restraint Systems in particular. The DOJ has confirmed that its auto parts investigation is

  the largest criminal investigation that the Antitrust Division has ever pursued, both in terms of its

  scope and the potential volume of commerce affected by the illegal conduct. Almost $1 billion in

  criminal fines have already been levied against various automotive parts manufacturers.

         161.    The probe originated in Europe as the result of several European OEMs coming

  together to bring a complaint to the EC. The EC and the FBI have executed surprise raids at the

  European and U.S. offices of several auto parts manufacturers, including certain Defendants, as



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  part of an investigation into anticompetitive conduct related to the manufacturing and sale of

  automotive parts.

         162.    Defendants Autoliv, TRW, and Takata have admitted that they are cooperating

  with the antitrust investigators. Autoliv, Inc. stated in its 2011 Annual Report that its subsidiary,

  Autoliv ASP, Inc., received a grand jury subpoena from the Antitrust Division of the United

  States Department of Justice on February 8, 2011. “The subpoena requested documents and

  information as part of a long-running investigation into possible anticompetitive behavior among

  certain suppliers to the automotive vehicle industry, including Autoliv.” Autoliv, Inc.’s 2011

  Annual Report also stated that, on June 7-9, 2011, representatives of the EC visited two facilities

  of Autoliv B.V. & Co. KG to gather information for a similar inquiry.

         163.    TRW stated in its 2011 Annual Report that “in June 2011, European antitrust

  authorities visited certain of our Occupant Safety Systems business unit locations in Germany to

  gather information. We also received a subpoena related to the Antitrust Investigations in the

  United States from the U.S. Department of Justice.”

         164.    On February 23, 2010, investigators from the FBI raided the Plymouth, Michigan,

  offices of Tokai Rika as part of a federal antitrust investigation. Special Agent Sandra Berchtold

  stated that the affidavits that contain facts supporting issuance of the search warrants were filed

  in federal court under seal.

         165.    Takata Corp. stated in its 2011 Annual Report that TK Holdings, Inc., a U.S.

  subsidiary, “became the subject to an investigation conducted by the Federal Bureau of

  Investigation on February 8, 2011. TK Holdings, Inc. is cooperating fully with the investigation.”

  Alby Berman, vice-president of marketing and public relations for TK Holdings, Inc., said the

  subpoena “targeted safety system suppliers – seat belts, air bags, steering wheels and safety



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  electronics – any communications with competitors, and specifically mentioned Tokai Rika” and

  that the subpoena targeted communications dating back to January 1, 2005. Special Agent

  Sandra Berchtold, media coordinator for the FBI, confirmed that the FBI raided TK Holdings,

  Inc.’s offices in Auburn Hills, Michigan.

         166.    The DOJ has stated that it is conducting an investigation of potential antitrust

  activity and coordinating its investigation with antitrust regulators in Europe.

         167.    To obtain the search warrant to raid TK Holdings, Inc., the FBI was legally

  required to have probable cause, accepted by a magistrate, to believe that it would obtain

  evidence of an antitrust violation as a result of executing the search warrant—that is, the United

  States had to have evidence sufficient to warrant a person of reasonable caution to believe that

  raiding the offices of a seemingly lawful business would uncover evidence of antitrust violations

  and that claimed evidence must have been examined and accepted by a magistrate. That belief,

  which was recounted in sworn affidavits or testimony, must be grounded on reasonably

  trustworthy information.

         D.      Guilty Plea Agreements

         168.    Defendant Autoliv has pleaded guilty and agreed to pay a total of $14.5 million in

  criminal fines concerning a two-count criminal investigation for fixing the prices of seatbelts,

  steering wheels, and airbags. Autoliv has admitted to conspiring with others to suppress and

  eliminate competition in the automotive parts industry by agreeing to rig bids for, and to fix,

  stabilize, and maintain the prices of, Occupant Safety Restraint Systems sold to certain

  automobile manufacturers in the United States and elsewhere at various times from at least as

  early as March 2006 and continuing until at least February 2011 in violation of the Sherman Act,

  15 U.S.C. § 1. Among other things, Autoliv admitted to: (a) participating in meetings,

  conversations, and communications to discuss the bids and price quotations to be submitted to

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  certain automobile manufacturers for Occupant Safety Restraint Systems; (b) agreeing, during

  those meetings, conversations, and communications, on bids and price quotations to be submitted

  to certain automobile manufacturers for Occupant Safety Restraint Systems; (c) agreeing, during

  those meetings, conversations, and communications, to allocate the supply of Occupant Safety

  Restraint Systems sold to certain automobile manufacturers on a model-by-model basis; (d)

  submitting bids and price quotations to certain automobile manufacturers in accordance with the

  agreements reached; (e) selling Occupant Safety Restraint Systems to certain automobile

  manufacturers at collusive and noncompetitive prices; and (f) accepting payment for Occupant

  Safety Restraint Systems sold to certain automobile manufacturers at collusive and

  noncompetitive prices.

         169.    The plea agreement requires it and its subsidiaries to cooperate with the DOJ,

  including producing documents in their control and providing their “directors, officers and

  employees ” for interviews and the provision of testimony in grand jury, trial and other judicial

  proceedings.

         170.    The plea agreement further provides that upon acceptance of the agreement, the

  United States will not bring further criminal charges against, among other entities, Autoliv Inc.’s

  subsidiaries arising out of the conspiracy.

         171.    Pursuant to the plea agreement, Autoliv Inc. agreed that if the United States

  determines that it or its subsidiaries fail to provide truthful and continuing cooperation, the

  United States could elect to subject Autoliv Inc. or its subsidiaries to criminal prosecution and

  that the United States would have the right, among other things, to prosecute both Autoliv Inc.

  and its subsidiaries for the conspiracy set forth in the plea agreement.




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         172.    Defendant TRW Germany has agreed to plead guilty and agreed to pay a total of

  $5.1 million in criminal fines concerning a two-count criminal investigation for fixing the prices

  of seatbelts, steering wheels and airbags. TRW Germany has admitted to conspiring with others

  to suppress and eliminate competition in the automotive parts industry by agreeing to rig bids

  for, and to fix, stabilize, and maintain the prices of, Occupant Safety Restraint Systems sold to

  certain automobile manufacturers in the United States and elsewhere at various times from at

  least as early as January 2008 to until at least June 2011 in violation of the Sherman Act, 15

  U.S.C. § 1. Among other things, TRW Germany admitted to: (a) participating in meetings,

  conversations, and communications to discuss the bids and price quotations to be submitted to

  certain automobile manufacturers for Occupant Safety Restraint Systems; (b) agreeing, during

  those meetings, conversations, and communications, on bids and price quotations to be submitted

  to certain automobile manufacturers for Occupant Safety Restraint Systems; (c) agreeing, during

  those meetings, conversations, and communications, to allocate the supply of Occupant Safety

  Restraint Systems sold to certain automobile manufacturers on a model-by-model basis; (d)

  agreeing, during those meetings, conversations, and communications, to coordinate price

  adjustments requested by certain automobile manufacturers; (e) submitting bids and price

  quotations to certain automobile manufacturers in accordance with the agreements reached; (f)

  selling Occupant Safety Restraint Systems to certain automobile manufacturers at collusive and

  noncompetitive prices; (g) accepting payment for Occupant Safety Restraint Systems sold to

  certain automobile manufacturers at collusive and noncompetitive prices; and (h) engaging in

  meetings, conversations and communications for the purpose of monitoring and enforcing

  adherence to the agreed upon bid rigging and price-fixing scheme.




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         173.    The plea agreement requires it and its subsidiaries to cooperate with the DOJ,

  including producing documents in their control and providing their “directors, officers and

  employees” for interviews and the provision of testimony in grand jury, trial and other judicial

  proceedings.

         174.    The plea agreement further provides that upon acceptance of the agreement, the

  United States will not bring further criminal charges against, among other entities, TRW

  Germany’s subsidiaries arising out of the conspiracy.

         175.    Pursuant to the plea agreement, TRW Germany agreed that if the United States

  determines that it or its subsidiaries fail to provide truthful and continuing cooperation, the

  United could elect to subject TRW Germany or its subsidiaries to criminal prosecution and that

  the United States would have the right, among other things, to prosecute both TRW Germany

  and its subsidiaries for the conspiracy set forth in the plea agreement.

         E.      Tokai Rika’s Plea Agreement

         176.    On December 12, 2012, Tokai Rika agreed to pay a $17.7 million fine and plead

  guilty to a two-count criminal information charging Tokai Rika with participating in a

  combination and conspiracy with its co-conspirators to suppress and eliminate competition in the

  automotive parts industry by agreeing to rig bids for, and to fix, stabilize, and maintain the prices

  of Heater Control Panels sold to an automobile manufacturer from at least September 2003 until

  at least February 2010 in violation of the Sherman Act, 15 U.S.C. § 1.

         177.    The information also charged Tokai Rika and one of its executives with

  obstruction of justice for directing employees to delete electronic data and destroy paper

  documents, which destroyed evidence relevant to the government’s investigation into Tokai

  Rika’s antitrust violations in violation of 15 U.S.C. § 1512(b)(2)(B). Tokai Rika’s plea

  agreement states “[a]fter becoming aware of the FBI search of the defendant’s United States

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  subsidiary, an executive of the defendant directed employees to delete electronic data and

  destroy paper documents likely to contain evidence of antitrust crimes. As a result, electronic

  data were deleted and paper documents were destroyed, including data and documents

  evidencing antitrust crimes, and some of the deleted electronic data and destroyed paper

  documents were non-recoverable.”

          178.    Tokai Rika’s plea agreement requires it and its subsidiaries to cooperate with the

  DOJ, including producing documents in their control and providing their “directors, officers and

  employees . . .” for “interviews and the provision of testimony in grand jury, trial and other

  judicial proceedings . . . .”

          179.    According to the criminal information filed against Tokai Rika, Tokai Rika and

  its co-conspirators carried out the conspiracy by:

                  a.      participating in meetings, conversations, and communications in the
                          United States and Japan to discuss the bids and price quotations;

                  b.      agreeing, during those meetings, conversations, and communications, on
                          bids and price quotations to be submitted;

                  c.      agreeing, during those meetings, conversations, and communications, to
                          allocate the supply of [Heater Control Panels];

                  d.      agreeing, during those meetings, conversations, and communications, to
                          coordinate price adjustments;

                  e.      submitting bids, price quotations, and price adjustments in accordance
                          with the agreements reached;

                  f.      selling [Heater Control Panels] in the United States and elsewhere at
                          collusive and noncompetitive prices;

                  g.      accepting payment for [Heater Control Panels] sold at collusive and
                          noncompetitive prices;

                  h.      engaging in meetings, conversations, and communications in the United
                          States and elsewhere for the purpose of monitoring and enforcing
                          adherence to the agreed-upon bid-rigging and price-fixing scheme; and



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                 i.      employing measures to keep their conduct secret, including using code
                         names and choosing meeting places and times to avoid detection.

         180.    Tokai Rika’s plea agreement states that during a period from at least as early as

  September 2003 until at least February 2010 Tokai Rika’s sales of Heater Control Panels subject

  to the conspiracy totaled approximately $73.6 million.

         F.      Additional Criminal Pleas Related to Conspiracies in the Automotive Parts
                 Industry

         181.    In addition to Autoliv, Inc. and TRW Germany, a number of other manufacturers

  of automotive parts have pleaded guilty, or agreed to plead guilty, to price fixing and bid rigging

  in the automotive parts industry, including: Furukawa Electric Co., Ltd.; Yazaki Corp.; G.S.

  Electech, Inc.; Fujikura Ltd.; Denso Corporation; and Nippon Seiki Co. Ltd. These companies

  have pleaded guilty to engaging in the same conduct as Autoliv, Inc. with regard to Automotive

  Wire Harness Systems, Instrument Panel Clusters, Fuel Senders and Heater Control Panels. The

  majority of these violators pleaded guilty to engaging in bid-rigging, price-fixing, and market

  allocation during the same time period as Autoliv, Inc. with multiple OEMs as their targets.

         G.      Likely Existence of An Amnesty Applicant

         182.    The Antitrust Criminal Penalty Enhancement and Reform Act (“ACPERA”)

  provides leniency benefits for a participant in a price-fixing conspiracy that voluntarily discloses

  its conduct to the Department of Justice. In most recent cases in which guilty pleas for price-

  fixing conduct have been obtained, there has been a cooperating party who has been accepted

  into the DOJ’s ACPERA program as an amnesty applicant. One of the leniency benefits for a

  conspirator that is accepted into the ACPERA program is that the applicant is not charged with a

  criminal offense and is not required to plead guilty to criminal charges.




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         183.    In light of the multiple guilty pleas in this case, in related automotive parts

  antitrust cases and the DOJ’s ongoing investigation into the industry, it is reasonable for this

  Court to infer that there is an ACPERA “amnesty applicant” in this case.

         H.      Damage to Plaintiffs and Other Automobile Dealers Caused by Defendants’
                 Illegal Activities.

         184.    Deputy Assistant Attorney General Scott Hammond, recently stated that the

  automotive parts cartel is “the biggest [cartel] with respect to the impact on U.S. business and

  consumers.”

         185.    Defendants’ conspiracy resulted in Defendants charging inflated prices to firms

  who directly purchased Occupant Safety Restraint Systems from them and in those purchasers

  raising their prices to subsequent purchasers.

         186.    Having paid higher prices for components of the cars they sold to Plaintiffs and

  the Classes and the Occupant Safety Restraint Systems they sold to Plaintiffs and the Classes,

  firms who sold such Occupant Safety Restraint Systems and vehicles passed Defendants’

  overcharges on to Plaintiffs and the Classes.

         187.    Plaintiffs and the Classes are entitled to the overcharges they paid for Occupant

  Safety Restraint Systems.

         188.    Because, among other reasons, of the imperfect nature of competition among

  automobile dealers and the differentiation among dealers by brand and by location, Plaintiffs and

  the Classes had to and did absorb, at the very least, a significant portion of the overcharges that

  they paid due to Defendants’ illegal activities.

         189.    Plaintiffs have standing and have suffered damage compensable by indirect

  purchaser laws and they and members of the classes they seek to represent have sustained

  significant damage and injury as a result of Defendants’ conspiracy.


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                                        CLASS ACTION ALLEGATIONS

             190.     Plaintiffs2 bring this action on behalf of themselves and as a class action under

  Rule 23(a) and (b)(2) of the Federal Rules of Civil Procedure, seeking equitable and injunctive

  relief on behalf of the following class (the “Nationwide Class”):

                      All automobile dealers that during the Class Period, (a) purchased
                      Occupant Safety Restraint Systems manufactured by the
                      Defendants or any current or former subsidiary or affiliate thereof
                      or any co-conspirator, or (b) purchased vehicles containing
                      Occupant Safety Restraint Systems manufactured by the
                      Defendants or any current or former subsidiary, affiliate thereof or
                      co-conspirator.

             191.     Plaintiffs also bring this action on behalf of themselves and as a class action under

  Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure seeking damages pursuant to the

  antitrust, unfair competition, unjust enrichment and consumer protection laws of the states whose

  laws are set forth in the Second and Third Claims below, as well as the unjust enrichment laws of

  Missouri, Massachusetts and Illinois (collectively the “Indirect Purchaser States”). These claims

  are brought by Plaintiffs on behalf of themselves and entities in the Indirect Purchaser States

  listed in the Second, Third and Fourth Claims as follows (the “Damages Class”):

                      All automobile dealers, in the Indirect Purchaser States, that,
                      during the Class Period (a) purchased Occupant Safety Restraint
                      Systems manufactured by one of the Defendants or any current or
                      former subsidiary or affiliate thereof, or any co-conspirator or (b)
                      purchased vehicles containing Occupant Safety Restraint Systems
                      manufactured by one of the Defendants or any current or former
                      subsidiary, affiliate or co-conspirator thereof.

             192.     The Nationwide Class and the Damages Class are referred to herein as the

  “Classes.” Excluded from the Classes are Defendants, their parent companies, subsidiaries and

  affiliates, any co-conspirators, federal governmental entities, and instrumentalities of the federal

  government, states, and their subdivisions, agencies, and instrumentalities.

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      Plaintiff Dale Martens is not included in the Nationwide Class.

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         193.    Although Plaintiffs do not know the exact number of the members of the Classes,

  Plaintiffs believe there are at least thousands of members in each Class.

         194.    Common questions of law and fact exist as to all members of the Classes. This is

  particularly true given the nature of Defendants’ conspiracy, which was generally applicable to

  all the members of both Classes, thereby making appropriate relief with respect to the Classes as

  a whole. Such questions of law and fact common to the Classes include, but are not limited to:

                 (a)    Whether Defendants and their co-conspirators engaged in a combination
                        and conspiracy among themselves to fix, raise, maintain or stabilize the
                        prices of Occupant Safety Restraint Systems sold in the United States;

                 (b)    The identity of the participants of the alleged conspiracy;

                 (c)    The duration of the alleged conspiracy and the acts carried out by
                        Defendants and their co-conspirators in furtherance of the conspiracy;

                 (d)    Whether the alleged conspiracy violated the Sherman Act, as alleged in
                        the First Claim for Relief;

                 (e)    Whether the alleged conspiracy violated state antitrust and unfair
                        competition law, and/or state consumer protection law, as alleged in the
                        Second and Third Claims for Relief;

                 (f)    Whether Defendants unjustly enriched themselves to the detriment of the
                        Plaintiffs and the members of the Classes, thereby entitling Plaintiffs and
                        the members of the Classes to disgorgement of all benefits derived by
                        Defendants, as alleged in the Fourth Claim for Relief;

                 (g)    Whether the conduct of Defendants and their co-conspirators, as alleged in
                        this Complaint, caused injury to the business or property of Plaintiffs and
                        the members of the Classes;

                 (h)    The effect of the alleged conspiracy on the prices of Occupant Safety
                        Restraint Systems sold in the United States during the Class Period;

                 (i)    Whether the Defendants and their co-conspirators fraudulently concealed
                        the conspiracy’s existence from the Plaintiffs and the members of the
                        Classes;

                 (j)    The appropriate injunctive and related equitable relief for the Nationwide
                        Class; and

                 (k)    The appropriate class-wide measure of damages for the Damages Class.

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          195.    Plaintiffs’ claims are typical of the claims of the members of the Classes, and

  Plaintiffs will fairly and adequately protect the interests of the Classes. Plaintiffs and all

  members of the Classes are similarly affected by Defendants’ wrongful conduct because they

  paid artificially inflated prices for Occupant Safety Restraint Systems purchased indirectly from

  Defendants or their co-conspirators.

          196.    Plaintiffs’ claims arise out of the same common course of conduct giving rise to

  the claims of the other members of the Classes. Plaintiffs’ interests are coincident with, and not

  antagonistic to, those of the other members of the Classes. Plaintiffs are represented by counsel

  who are competent and experienced in the prosecution of antitrust and class action litigation.

          197.    The questions of law and fact common to the members of the Classes

  predominate over any questions affecting only individual members, including legal and factual

  issues relating to liability and damages.

          198.    Class action treatment is a superior method for the fair and efficient adjudication

  of the controversy, in that, among other things, such treatment will permit a large number of

  similarly situated persons to prosecute their common claims in a single forum simultaneously,

  efficiently and without the unnecessary duplication of evidence, effort, and expense that

  numerous individual actions would engender. The benefits of proceeding through the class

  mechanism provide injured entities with a method for obtaining redress for claims that might not

  be practicable to pursue individually and substantially outweigh any difficulties that may arise in

  the management of this class action.

          199.    The prosecution of separate actions by individual members of the Classes would

  create a risk of inconsistent or varying adjudications, establishing incompatible standards of

  conduct for Defendants.



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            PLAINTIFFS AND THE CLASSES SUFFERED ANTITRUST INJURY

         200.    Defendants’ price-fixing conspiracy had the following effects, among others:

                 (a)     Price competition has been restrained or eliminated with respect to
                         Occupant Safety Restraint Systems;

                 (b)     The prices of Occupant Safety Restraint Systems have been fixed, raised,
                         maintained, or stabilized at artificially inflated levels;

                 (c)     Defendants charged purchasers of their Occupant Safety Restraint Systems
                         inflated, fixed and stabilized prices for such Occupant Safety Restraint
                         Systems;

                 (d)     Having paid higher prices for components of the cars they sold to
                         Plaintiffs and the Classes and the Occupant Safety Restraint Systems they
                         sold to Plaintiffs and the Classes, firms who sold Defendants’ Occupant
                         Safety Restraint Systems and vehicles to Plaintiffs and the Classes passed
                         Defendants’ overcharges on to them;

                 (e)     Defendants’ overcharges passed through each level of distribution as they
                         traveled to Plaintiffs and the Classes; and

                 (f)     Automobile dealers purchasing Occupant Safety Restraint Systems and
                         vehicles containing Occupant Safety Restraint Systems have been
                         deprived of free and open competition.

         201.    During the Class Period, Plaintiffs and the members of the Classes paid

  supracompetitive prices for Occupant Safety Restraint Systems, as a result of Defendants’

  conspiracy.

         202.    An increase in the prices of Occupant Safety Restraint Systems caused an increase

  in the price of vehicles during the Class Period.

         203.    The market for Occupant Safety Restraint Systems and the market for cars are

  inextricably linked and intertwined because the market for Occupant Safety Restraint Systems

  exists to serve the vehicle market. Without the vehicles, the Occupant Safety Restraint Systems

  have little to no value because they have no independent utility and must be inserted into




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  vehicles to serve any function. Indeed, the demand for vehicles creates the demand for Occupant

  Safety Restraint Systems.

         204.    Occupant Safety Restraint Systems are identifiable, discrete physical products that

  remain essentially unchanged when incorporated into a vehicle and are not altered during the

  manufacturing process. As a result, Occupant Safety Restraint Systems follow a traceable

  physical chain of distribution from the Defendants to Plaintiffs and the members of the Classes,

  and any costs attributable to Occupant Safety Restraint Systems can be traced through the chain

  of distribution to Plaintiffs and the members of the Classes.

         205.    Just as Occupant Safety Restraint Systems can be physically traced through the

  supply chain, so can their price be traced to show that changes in the prices paid by direct

  purchasers of Occupant Safety Restraint Systems affect prices paid by indirect purchasers of new

  motor vehicles containing Occupant Safety Restraint Systems.

         206.    Occupant Safety Restraint Systems have their own part numbers, which permit

  them to be tracked.

         207.    Occupant Safety Restraint Systems are pieces of sophisticated equipment that are

  necessary to operate a vehicle.

         208.    Occupant Safety Restraint Systems are found in every modern vehicle and can be

  removed from a finished vehicle and replaced.

         209.    The Occupant Safety Restraint Systems subject to Defendants’ conspiracy and at

  issue in this lawsuit only have one use: to be inserted into vehicles. Whether Occupant Safety

  Restraint Systems are sold by themselves or in vehicles, their purpose is to be inserted into

  vehicles to protect drivers and passengers from bodily harm.




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             210.   Occupant Safety Restraint Systems comprise a not insignificant portion of the

  cost of a vehicle.

             211.   The purpose of the conspiratorial conduct of the Defendants and their co-

  conspirators was to raise, fix, rig, or stabilize the price of Occupant Safety Restraint Systems

  and, as a direct and foreseeable result, the price of new motor vehicles containing Occupant

  Safety Restraint Systems and the price of Occupant Safety Restraint Systems purchased for

  repair purposes. Economists have developed techniques to isolate and understand the

  relationship between one “explanatory” variable and a “dependent” variable in those cases when

  changes in the dependent variable are explained by changes in a multitude of variables, even

  when all such variables may be changing simultaneously. That analysis—called regression

  analysis—is commonly used in the real world and in litigation to determine the impact of a price

  increase on one cost in a product or service that is an assemblage of costs. Thus, it is possible to

  isolate and identify only the impact of an increase in the price of Occupant Safety Restraint

  Systems on prices for new motor vehicles even though such products contain a number of other

  components whose prices may be changing over time. A regression model can explain how

  variation in the price of Occupant Safety Restraint Systems affects changes in the price of new

  motor vehicles. In such models, the price of Occupant Safety Restraint Systems would be

  treated as an independent or explanatory variable. The model can isolate how changes in the

  price of Occupant Safety Restraint Systems impact the price of new motor vehicles containing

  Occupant Safety Restraint Systems while controlling for the impact of other price-determining

  factors.

             212.   The precise amount of the overcharge impacting the prices of new motor vehicles

  containing Occupant Safety Restraint Systems can be measured and quantified. Commonly used



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  and well-accepted economic models can be used to measure both the extent and the amount of

  the supra-competitive charge passed through the chain of distribution. Thus, the economic harm

  to Plaintiffs and members of the Classes can be quantified.

         213.    By reason of the alleged violations of the antitrust laws, Plaintiffs and the

  members of the Classes have sustained injury to their businesses or property, having paid higher

  prices for Occupant Safety Restraint Systems than they would have paid in the absence of

  Defendants’ illegal contract, combination, or conspiracy, and, as a result, have suffered damages

  in an amount presently undetermined. This is an antitrust injury of the type that the antitrust laws

  were meant to punish and prevent and Plaintiffs’ and Class members’ damages are measureable.

   PLAINTIFFS’ CLAIMS ARE NOT BARRED BY THE STATUTE OF LIMITATIONS

         A.      The Statute of Limitations Did Not Begin to Run Because Plaintiffs Did Not
                 and Could Not Discover the Claims

         214.    Plaintiffs repeat and reallege the allegations set forth above.

         215.    Plaintiffs and the members of the Classes had no knowledge of the combination

  or conspiracy alleged herein, or of facts sufficient to place them on inquiry notice of the claims

  set forth herein, until the public announcements of Autoliv’s agreement to plead guilty, on June

  6, 2012.

         216.    Plaintiffs and the members of the Classes are automobile dealers who purchased

  automobiles or purchased Occupant Safety Restraint Systems to replace or repair damaged or

  defective Occupant Safety Restraint Systems.

         217.    They had no direct contact or interaction with any of the Defendants in this case

  and had no means from which they could have discovered the combination and conspiracy

  described in this Complaint before the public announcements of Autoliv’s agreement to plead

  guilty, on June 6, 2012.


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            218.   No information in the public domain was available to the Plaintiffs and the

  members of the Classes prior to the public announcements of Autoliv’s agreement to plead

  guilty, on June 6, 2012, that revealed sufficient information to suggest that any one of the

  Defendants was involved in a criminal conspiracy to price-fix and rig bids for Occupant Safety

  Restraint Systems. Plaintiffs and the members of the Classes had no means of obtaining any

  facts or information concerning any aspect of Defendants’ dealings with OEMs or other direct

  purchasers, much less the fact that they had engaged in the combination and conspiracy alleged

  herein.

            219.   For these reasons, the statute of limitations as to Plaintiffs’ and the Classes’

  claims did not begin to run, and has been tolled with respect to the claims that Plaintiffs and the

  members of the Classes have alleged in this Complaint.

                   B.     Fraudulent Concealment Tolled the Statute of Limitations

            220.   In the alternative, application of the doctrine of fraudulent concealment tolled the

  statute of limitations on the claims asserted herein by Plaintiffs and the Classes. Plaintiffs and

  the members of the Classes did not discover, and could not discover through the exercise of

  reasonable diligence, the existence of the conspiracy alleged herein until the public

  announcement of Autoliv’s agreement to plead guilty, on June 6, 2012.

            221.   Because Defendants’ agreements, understandings, and conspiracies were kept

  secret until June 6, 2012, Plaintiffs and members of the Classes before that time were unaware of

  Defendants’ unlawful conduct, and they did not know before then that they were paying

  supracompetitive prices for Occupant Safety Restraint Systems throughout the United States

  during the Class Period.




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         222.      Defendants had secret communications to collusively fix prices, rig bids and

  allocate markets for Occupant Safety Restraint Systems.

         223.      Defendants also concealed their conspiracy by submitting bids to OEMs, to give

  the appearance of competition, despite having already determined, among themselves, who

  would win each bid.

         224.      The affirmative acts of the Defendants alleged herein, including acts in

  furtherance of the conspiracy, were wrongfully concealed and carried out in a manner that

  precluded detection.

         225.      By its very nature, Defendants’ anticompetitive conspiracy was inherently self-

  concealing. Occupant Safety Restraint Systems are not exempt from antitrust regulation, and

  thus, before June 6, 2012, Plaintiffs reasonably considered it to be a competitive industry.

  Accordingly, a reasonable person under the circumstances would not have been alerted to begin

  to investigate the legitimacy of Defendants’ Occupant Safety Restraint Systems’ prices before

  June 6, 2012.

         226.      Plaintiffs and the members of the Classes could not have discovered the alleged

  contract, conspiracy, or combination at an earlier date by the exercise of reasonable diligence

  because of the deceptive practices and techniques of secrecy employed by the Defendants and

  their co-conspirators to avoid detection of, and fraudulently conceal, their contract, combination,

  or conspiracy.

         227.      Because the alleged conspiracy was both self-concealing and affirmatively

  concealed by Defendants and their co-conspirators, Plaintiffs and members of the Classes had no

  knowledge of the alleged conspiracy, or of any facts or information that would have caused a




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  reasonably diligent person to investigate whether a conspiracy existed, until June 6, 2012, when

  the DOJ announced that Autoliv had agreed to plead guilty to the conspiracy.

         228.      As a result of Defendants’ fraudulent concealment of their conspiracy, the running

  of any statute of limitations has been tolled with respect to any claims that Plaintiffs and the

  members of the Classes have alleged in this Complaint.

                                      FIRST CLAIM FOR RELIEF

                              Violation of Section 1 of the Sherman Act
                          (on behalf of Plaintiffs and the Nationwide Class)

         229.      Defendants and unnamed conspirators entered into and engaged in a contract,

  combination, or conspiracy in unreasonable restraint of trade in violation of Section 1 of the

  Sherman Act (15 U.S.C. § 1).

         230.      The acts done by each of the Defendants as part of, and in furtherance of, their

  contract, combination, or conspiracy were authorized, ordered, or done by their officers, agents,

  employees, or representatives while actively engaged in the management of Defendants’ affairs.

         231.      At least as early as March 2006, and continuing until at least the filing of this

  Complaint, the exact dates being unknown to Plaintiffs, Defendants and their co-conspirators

  entered into a continuing agreement, understanding, and conspiracy in restraint of trade to

  artificially fix, raise, stabilize, and control prices for Occupant Safety Restraint Systems, thereby

  creating anticompetitive effects.

         232.      The anticompetitive acts were intentionally directed at the United States market

  for Occupant Safety Restraint Systems and had a substantial and foreseeable effect on interstate

  commerce by raising and fixing prices for Occupant Safety Restraint Systems throughout the

  United States.




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            233.   The conspiratorial acts and combinations have caused unreasonable restraints in

  the market for Occupant Safety Restraint Systems.

            234.   As a result of Defendants’ unlawful conduct, Plaintiffs and other similarly

  situated indirect purchasers in the Nationwide Class who purchased Occupant Safety Restraint

  Systems have been harmed by being forced to pay inflated, supracompetitive prices for Occupant

  Safety Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

            235.   In formulating and carrying out the alleged agreement, understanding, and

  conspiracy, Defendants and their co-conspirators did those things that they combined and

  conspired to do, including but not limited to the acts, practices, and course of conduct set forth

  herein.

            236.   Defendants’ conspiracy had the following effects, among others:

                   (a)    Price competition in the market for Occupant Safety Restraint Systems has
                          been restrained, suppressed, and/or eliminated in the United States;

                   (b)    Prices for Occupant Safety Restraint Systems sold by Defendants and their
                          coconspirators have been fixed, raised, maintained, and stabilized at
                          artificially high, noncompetitive levels throughout the United States;

                   (c)    Prices for vehicles purchased by Plaintiffs and the members of the
                          Nationwide Class containing Occupant Safety Restraint Systems
                          manufactured by Defendants and their coconspirators were inflated; and

                   (d)    Plaintiffs and members of the Nationwide Class who purchased Occupant
                          Safety Restraint Systems indirectly from Defendants have been deprived
                          of the benefits of free and open competition.

            237.   Plaintiffs and members of the Nationwide Class have been injured and will

  continue to be injured in their business and property by paying more for Occupant Safety

  Restraint Systems and vehicles containing Occupant Safety Restraint Systems than they would

  have paid and will pay in the absence of the conspiracy.




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         238.    Plaintiffs and members of the Nationwide Class will continue to be subject to

  Defendants’ price-fixing, bid-rigging, and market allocations, which will deprive Plaintiffs and

  members of the Nationwide Class of the benefits of free competition, including competitively-

  priced Occupant Safety Restraint Systems and vehicles containing Occupant Safety Restraint

  Systems.

         239.    Plaintiffs and members of the Nationwide Class will continue to lose funds due to

  overpayment for Occupant Safety Restraint Systems and vehicles containing Occupant Safety

  Restraint Systems because they are required to purchase vehicles and Occupant Safety Restraint

  Systems to continue to operate their businesses.

         240.    Plaintiffs and members of the Nationwide Class continue to purchase vehicles and

  Occupant Safety Restraint Systems, on a regular basis.

         241.    Vehicles and Occupant Safety Restraint Systems continue to be sold at inflated

  and supracompetitive prices.

         242.    The alleged contract, combination, or conspiracy is a per se violation of the

  federal antitrust laws.

         243.    Plaintiffs and members of the Nationwide Class will be at the mercy of

  Defendants’ unlawful conduct until the Court orders an injunction.

         244.    Plaintiffs and members of the Nationwide Class are entitled to an injunction

  against Defendants preventing and restraining the violations alleged herein.

                                  SECOND CLAIM FOR RELIEF

                                 Violation of State Antitrust Statutes
                            (on behalf of Plaintiffs and the Damages Class)

         245.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.




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           246.   From as early as March 2006 until at least the filing of this Complaint,

  Defendants and their co-conspirators engaged in a continuing contract, combination, or

  conspiracy with respect to the sale of Occupant Safety Restraint Systems in unreasonable

  restraint of trade and commerce and in violation of the various state antitrust statutes set forth

  below.

           247.   The contract, combination, or conspiracy consisted of an agreement among the

  Defendants and their co-conspirators to fix, raise, inflate, stabilize and/or maintain artificially

  supracompetitive prices for Occupant Safety Restraint Systems, to rig bids for the sale of

  Occupant Safety Restraint Systems and to allocate customers for Occupant Safety Restraint

  Systems in the United States.

           248.   In formulating and effectuating this conspiracy, Defendants and their co-

  conspirators performed acts in furtherance of the combination and conspiracy, including:

                  (a)    participating in meetings and conversations among themselves in the
                         United States and elsewhere during which they agreed to price Occupant
                         Safety Restraint Systems at certain levels, and otherwise to fix, increase,
                         inflate, maintain, or stabilize effective prices paid by Plaintiffs and
                         members of the Damages Class with respect to Occupant Safety Restraint
                         Systems sold in the United States;

                  (b)    allocating customers and markets for Occupant Safety Restraint Systems
                         in the United States in furtherance of their agreements; and

                  (c)    participating in meetings and conversations among themselves in the
                         United States and elsewhere to implement, adhere to, and police the
                         unlawful agreements they reached.

           249.   Defendants and their co-conspirators engaged in the actions described above for

  the purpose of carrying out their unlawful agreements to fix, maintain, decrease, or stabilize

  prices and to allocate customers with respect to Occupant Safety Restraint Systems.




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          250.    Defendants’ anticompetitive acts described above were knowing, willful, and

  constitute violations or flagrant violations of the following state antitrust statutes.

          251.    Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the Arizona Revised Statutes, §§ 44-1401, et seq.

          (a)     Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout Arizona; (2) Occupant Safety Restraint Systems prices were raised, fixed,

  maintained, and stabilized at artificially high levels throughout Arizona; (3) Plaintiffs and

  members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

  and members of the Damages Class paid supracompetitive, artificially inflated prices for

  Occupant Safety Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

          (b)     During the Class Period, Defendants’ illegal conduct substantially affected

  Arizona commerce.

          (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

          (d)     By reason of the foregoing, Defendants entered into agreements in restraint of

  trade in violation of Ariz. Rev. Stat. §§ 44-1401, et seq. Accordingly, Plaintiffs and members of

  the Damages Class seek all forms of relief available under Ariz. Rev. Stat. §§ 44-1401, et seq.

          252.    Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the California Business and Professions Code, §§ 16700, et seq.

          (a)     During the Class Period, Defendants and their co-conspirators entered into and

  engaged in a continuing unlawful trust in restraint of the trade and commerce described above in



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  violation of Section 16720 of the California Business and Professions Code. Defendants, each of

  them, have acted in violation of Section 16720 to fix, raise, stabilize, and maintain prices of, and

  allocate markets for, Occupant Safety Restraint Systems at supracompetitive levels.

         (b)     The aforesaid violations of Section 16720, California Business and Professions

  Code, consisted, without limitation, of a continuing unlawful trust and concert of action among

  the Defendants and their co-conspirators the substantial terms of which were to fix, raise,

  maintain, and stabilize the prices of, and to allocate markets for, Occupant Safety Restraint

  Systems.

         (c)     For the purpose of forming and effectuating the unlawful trust, the Defendants

  and their co-conspirators have done those things which they combined and conspired to do,

  including but in no way limited to the acts, practices and course of conduct set forth above and

  the following: (1) Fixing, raising, stabilizing, and pegging the price of Occupant Safety Restraint

  Systems; and (2) Allocating among themselves the production of Occupant Safety Restraint

  Systems.

         (d)     The combination and conspiracy alleged herein has had, inter alia, the following

  effects upon the commerce of California: (1) Price competition in the sale of Occupant Safety

  Restraint Systems has been restrained, suppressed, and/or eliminated in the State of California;

  (2) Prices for Occupant Safety Restraint Systems sold by Defendants and their co-conspirators

  have been fixed, raised, stabilized, and pegged at artificially high, non-competitive levels in the

  State of California and throughout the United States; and (3) Those who purchased Occupant

  Safety Restraint Systems or vehicles containing Occupant Safety Restraint Systems

  manufactured by Defendants and their co-conspirators have been deprived of the benefit of free

  and open competition.



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         (e)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property in that they paid

  more for Occupant Safety Restraint Systems than they otherwise would have paid in the absence

  of Defendants’ unlawful conduct. As a result of Defendants’ violation of Section 16720 of the

  California Business and Professions Code, Plaintiffs and members of the Damages Class seek

  treble damages and their cost of suit, including a reasonable attorney’s fee, pursuant to Section

  16750(a) of the California Business and Professions Code.

         253.    Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the District of Columbia Official Code §§ 28-4501, et seq.

         (a)     Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout the District of Columbia; (2) Occupant Safety Restraint Systems prices were raised,

  fixed, maintained, and stabilized at artificially high levels throughout the District of Columbia;

  (3) Plaintiffs and members of the Damages Class, including those who resided in the District of

  Columbia and/or purchased Occupant Safety Restraint Systems or vehicles in the District of

  Columbia, were deprived of free and open competition, including in the District of Columbia;

  and (4) Plaintiffs and members of the Damages Class, including those who resided in the District

  of Columbia and/or purchased Occupant Safety Restraint Systems or vehicles in the District of

  Columbia, paid supracompetitive, artificially inflated prices for Occupant Safety Restraint

  Systems and vehicles containing Occupant Safety Restraint Systems, including in the District of

  Columbia.

         (b)     During the Class Period, Defendants’ illegal conduct substantially affected

  District of Columbia commerce.



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         (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

         (d)     By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of District of Columbia Code Ann. §§ 28-4501, et seq. Accordingly,

  Plaintiffs and members of the Damages Class seek all forms of relief available under District of

  Columbia Code Ann. §§ 28-4501, et seq.

         254.    Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the Hawaii Revised Statutes Annotated §§ 480-1, et seq.

         (a)     Defendants’ unlawful conduct had the following effects: (1) Occupant Safety

  Restraint Systems’ price competition was restrained, suppressed, and eliminated throughout

  Hawaii; (2) Occupant Safety Restraint Systems’ prices were raised, fixed, maintained, and

  stabilized at artificially high levels throughout Hawaii; (3) Plaintiff and members of the Damages

  Class were deprived of free and open competition; and (4) Plaintiff and members of the Damages

  Class paid supracompetitive, artificially inflated prices for Occupant Safety Restraint Systems

  and vehicles containing Occupant Safety Restraint Systems.

         (b)     During the Class Period, Defendants’ illegal conduct substantially affected

  Hawaii commerce.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

         (d)     By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of Hawaii Revised Statutes Annotated §§ 480-4, et seq. Accordingly,



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  Plaintiffs and members of the Damages Class seek all forms of relief available under Hawaii

  Revised Statutes Annotated §§ 480-4, et seq.

          255.    Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the Illinois Antitrust Act, 740 Illinois Compiled Statutes 10/1, et seq.

          (a)     Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout Illinois; (2) Occupant Safety Restraint Systems prices were raised, fixed, maintained,

  and stabilized at artificially high levels throughout Illinois; (3) Plaintiffs and members of the

  Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

  the Damages Class paid supracompetitive, artificially inflated prices for Occupant Safety

  Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

          (b)     During the Class Period, Defendants’ illegal conduct substantially affected Illinois

  commerce.

          (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

          (d)     By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of 740 Illinois Compiled Statutes 10/1, et seq. Accordingly, Plaintiffs and

  members of the Damages Class seek all forms of relief available under 740 Illinois Compiled

  Statutes 10/1, et seq.3




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    Dealership Plaintiffs recognize that their claims under the Illinois Antitrust Act were dismissed
  in the Wire Harness action. Dealership Plaintiffs assert this claim here, individually and
  collectively, to preserve it for appeal.
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         256.    Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the Iowa Code §§ 553.1, et seq.

         (a)     Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout Iowa; (2) Occupant Safety Restraint Systems prices were raised, fixed, maintained,

  and stabilized at artificially high levels throughout Iowa; (3) Plaintiffs and members of the

  Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

  the Damages Class paid supracompetitive, artificially inflated prices for Occupant Safety

  Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

         (b)     During the Class Period, Defendants’ illegal conduct substantially affected Iowa

  commerce.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

         (d)     By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of Iowa Code §§ 553.1, et seq. Accordingly, Plaintiffs and members of the

  Damages Class seek all forms of relief available under Iowa Code §§ 553.1, et seq.

         257.    Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the Kansas Statutes Annotated, §§ 50-101, et seq.

         (b)     Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout Kansas; (2) Occupant Safety Restraint Systems prices were raised, fixed, maintained,

  and stabilized at artificially high levels throughout Kansas; (3) Plaintiffs and members of the



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  Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

  the Damages Class paid supracompetitive, artificially inflated prices for Occupant Safety

  Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

         (c)     During the Class Period, Defendants’ illegal conduct substantially affected

  Kansas commerce.

         (d)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

         (e)     By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of Kansas Stat. Ann. §§ 50-101, et seq. Accordingly, Plaintiffs and members

  of the Damages Class seek all forms of relief available under Kansas Stat. Ann. §§ 50-101, et

  seq.

         258.    Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the Maine Revised Statutes, Maine Rev. Stat. Ann. 10, §§ 1101, et seq.

         (a)     Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout Maine; (2) Occupant Safety Restraint Systems prices were raised, fixed, maintained,

  and stabilized at artificially high levels throughout Maine; (3) Plaintiffs and members of the

  Damages Class were deprived of free and open competition: and (4) Plaintiffs and members of

  the Damages Class paid supracompetitive, artificially inflated prices for Occupant Safety

  Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

         (b)     During the Class Period, Defendants’ illegal conduct substantially affected Maine

  commerce.



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         (c)      As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

         (d)      By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of Maine Rev. Stat. Ann. 10, §§ 1101, et seq. Accordingly, Plaintiffs and

  members of the Damages Class seek all relief available under Maine Rev. Stat. Ann. 10. §§

  1101, et seq.

         259.     Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the Michigan Compiled Laws Annotated §§ 445.771, et seq.

         (a)      Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout Michigan; (2) Occupant Safety Restraint Systems prices were raised, fixed,

  maintained, and stabilized at artificially high levels throughout Michigan; (3) Plaintiffs and

  members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

  and members of the Damages Class paid supracompetitive, artificially inflated prices for

  Occupant Safety Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

         (b)      During the Class Period, Defendants’ illegal conduct substantially affected

  Michigan commerce.

         (c)      As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

         (d)      By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of Michigan Comp. Laws Ann. §§ 445.771, et seq. Accordingly, Plaintiffs



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  and members of the Damages Class seek all relief available under Michigan Comp. Laws Ann.

  §§ 445.771, et seq.

         260.    Defendants have entered into an unlawful agreement in unreasonable restraint of

  trade in violation of the Minnesota Statutes Annotated §§ 325D.49, et seq.

         (a)     Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout Minnesota; (2) Occupant Safety Restraint Systems prices were raised, fixed,

  maintained, and stabilized at artificially high levels throughout Minnesota; (3) Plaintiffs and

  members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

  and members of the Damages Class paid supracompetitive, artificially inflated prices for

  Occupant Safety Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

         (b)     During the Class Period Defendants’ illegal conduct substantially affected

  Minnesota commerce.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

         (d)     By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of Minnesota Stat. §§ 325D.49, et seq. Accordingly, Plaintiffs and members

  of the Damages Class seek all relief available under Minnesota Stat. §§ 325D.49, et seq.

         261.    Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the Mississippi Code Annotated §§ 75-21-1, et seq.

         (a)     Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated



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  throughout Mississippi; (2) Occupant Safety Restraint Systems prices were raised, fixed,

  maintained, and stabilized at artificially high levels throughout Mississippi; (3) Plaintiffs and

  members of the Damages Class, including those who resided in Mississippi and/or purchased

  Occupant Safety Restraint Systems or vehicles in Mississippi were deprived of free and open

  competition, including in Mississippi: and (4) Plaintiffs and members of the Damages Class,

  including those who resided in Mississippi and/or purchased Occupant Safety Restraint Systems

  or vehicles in Mississippi paid supracompetitive, artificially inflated prices for Occupant Safety

  Restraint Systems, including in Mississippi.

            (b)    During the Class Period, Defendants’ illegal conduct substantially affected

  Mississippi commerce.

            (c)    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

            (d)    By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of Mississippi Code Ann. § 75-21-1, et seq. Accordingly, Plaintiffs and

  members of the Damages Class seek all relief available under Mississippi Code Ann. § 75-21-1,

  et seq.

            262.   Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the Nebraska Revised Statutes §§ 59-801, et seq.

            (a)    Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout Nebraska; (2) Occupant Safety Restraint Systems prices were raised, fixed,

  maintained, and stabilized at artificially high levels throughout Nebraska; (3) Plaintiffs and



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  members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

  and members of the Damages Class paid supracompetitive, artificially inflated prices for

  Occupant Safety Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

         (b)     During the Class Period, Defendants’ illegal conduct substantially affected

  Nebraska commerce.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

         (d)     By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of Nebraska Revised Statutes §§ 59-801, et seq. Accordingly, Plaintiffs and

  members of the Damages Class seek all relief available under Nebraska Revised Statutes §§ 59-

  801, et seq.

         263.    Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the Nevada Revised Statutes Annotated §§ 598A.010, et seq.

         (a)     Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout Nevada; (2) Occupant Safety Restraint Systems prices were raised, fixed, maintained,

  and stabilized at artificially high levels throughout Nevada; (3) Plaintiffs and members of the

  Damages Class, including those who resided in Nevada and/or purchased Occupant Safety

  Restraint Systems or vehicles in Nevada, were deprived of free and open competition including

  in Nevada; and (4) Plaintiffs and members of the Damages Class, including those who resided in

  Nevada and/or purchased Occupant Safety Restraint Systems or vehicles in Nevada, paid




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  supracompetitive, artificially inflated prices for Occupant Safety Restraint Systems and vehicles

  containing Occupant Safety Restraint Systems, including in Nevada.

         (b)     During the Class Period, Defendants’ illegal conduct substantially affected

  Nevada commerce.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

         (d)     By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of Nevada Rev. Stat. Ann. §§ 598A.060, et seq. Accordingly, Plaintiffs and

  members of the Damages Class seek all relief available under Nevada Rev. Stat. Ann. §§

  598A.010, et seq.

         264.    Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the New Hampshire Revised Statutes §§ 356:1, et seq.

         (a)     Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout New Hampshire; (2) Occupant Safety Restraint Systems prices were raised, fixed,

  maintained, and stabilized at artificially high levels throughout New Hampshire; (3) Plaintiffs

  and members of the Damages Class were deprived of free and open competition; and (4)

  Plaintiffs and members of the Damages Class paid supracompetitive, artificially inflated prices

  for Occupant Safety Restraint Systems and vehicles containing Occupant Safety Restraint

  Systems.

         (b)     During the Class Period Defendants’ illegal conduct substantially affected New

  Hampshire commerce.



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         (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

         (d)     By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of New Hampshire Revised Statutes §§ 356:1, et seq. Accordingly, Plaintiffs

  and members of the Damages Class seek all relief available under New Hampshire Revised

  Statutes §§ 356:1, et seq.

         265.    Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the New Mexico Statutes Annotated §§ 57-1-1, et seq.

         (a)     Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout New Mexico; (2) Occupant Safety Restraint Systems prices were raised, fixed,

  maintained, and stabilized at artificially high levels throughout New Mexico; (3) Plaintiffs and

  members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

  and members of the Damages Class paid supracompetitive, artificially inflated prices for

  Occupant Safety Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

         (b)     During the Class Period, Defendants’ illegal conduct substantially affected New

  Mexico commerce.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

         (d)     By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of New Mexico Stat. Ann. §§ 57-1-1, et seq. Accordingly, Plaintiffs and



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  members of the Damages Class seek all relief available under New Mexico Stat. Ann.§§ 57-1-1,

  et seq.

            266.   Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the New York General Business Laws §§ 340, et seq.

            (a)    Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout New York; (2) Occupant Safety Restraint Systems prices were raised, fixed,

  maintained, and stabilized at artificially high levels throughout New York; (3) Plaintiffs and

  members of the Damages Class, including those who resided in New York and/or purchased

  Occupant Safety Restraint Systems or vehicles in New York, were deprived of free and open

  competition, including in New York; and (4) Plaintiffs and members of the Damages Class,

  including those who resided in New York, paid supracompetitive, artificially inflated prices for

  Occupant Safety Restraint Systems when they purchased, including in New York, Occupant

  Safety Restraint Systems or vehicles containing Occupant Safety Restraint Systems, or

  purchased, including in New York, Occupant Safety Restraint Systems or vehicles that were

  otherwise of lower quality, than would have been absent the conspirators’ illegal acts, or were

  unable to purchase Occupant Safety Restraint Systems or vehicles that they would have

  otherwise have purchased absent the illegal conduct.

            (b)    During the Class Period, Defendants’ illegal conduct substantially affected New

  York commerce.

            (c)    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.



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         (d)     By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of the New York Donnelly Act, §§ 340, et seq. The conduct set forth above

  is a per se violation of the Act. Accordingly, Plaintiffs and members of the Damages Class seek

  all relief available under New York Gen. Bus. Law §§ 340, et seq.

         267.    Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the North Carolina General Statutes §§ 75-1, et seq.

         (a)     Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout North Carolina; (2) Occupant Safety Restraint Systems prices were raised, fixed,

  maintained, and stabilized at artificially high levels throughout North Carolina; (3) Plaintiffs and

  members of the Damages Class, including those who resided in North Carolina and/or purchased

  Occupant Safety Restraint Systems or vehicles in North Carolina, were deprived of free and open

  competition, including in North Carolina; and (4) Plaintiffs and members of the Damages Class,

  including those who resided in North Carolina and/or purchased Occupant Safety Restraint

  Systems or vehicles in North Carolina, paid supracompetitive, artificially inflated prices for

  Occupant Safety Restraint Systems and vehicles including in North Carolina.

         (b)     During the Class Period, Defendants’ illegal conduct substantially affected North

  Carolina commerce. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

  and members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

         (c)     By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of North Carolina Gen. Stat. §§ 75-1, et seq. Accordingly, Plaintiffs and




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  members of the Damages Class seek all relief available under North Carolina Gen. Stat. §§ 75-1,

  et seq.

            268.   Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the North Dakota Century Code §§ 51-08.1-01, et seq.

            (a)    Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout North Dakota; (2) Occupant Safety Restraint Systems prices were raised, fixed,

  maintained, and stabilized at artificially high levels throughout North Dakota; (3) Plaintiffs and

  members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

  and members of the Damages Class paid supracompetitive, artificially inflated prices for

  Occupant Safety Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

            (b)    During the Class Period, Defendants’ illegal conduct had a substantial effect on

  North Dakota commerce.

            (c)    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

            (d)    By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of North Dakota Cent. Code §§ 51-08.1-01, et seq. Accordingly, Plaintiffs

  and members of the Damages Class seek all relief available under North Dakota Cent. Code §§

  51-08.1-01, et seq.

            269.   Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the Oregon Revised Statutes §§ 646.705, et seq.




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               (a) Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout Oregon; (2) Occupant Safety Restraint Systems prices were raised, fixed,

  maintained, and stabilized at artificially high levels throughout Oregon; (3) Plaintiffs and

  members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

  and members of the Damages Class paid supracompetitive, artificially inflated prices for

  Occupant Safety Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

               (b) During the Class Period Defendants’ illegal conduct had a substantial effect on

  Oregon commerce.

               (c) As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

               (d) By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of Oregon Revised Statutes §§ 646.705, et seq. Accordingly, Plaintiffs and

  members of the Damages Class seek all relief available under Oregon Revised Statutes §§

  646.705, et seq.

         270.      Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the South Dakota Codified Laws §§ 37-1-3.1., et seq.

         (a)       Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout South Dakota; (2) Occupant Safety Restraint Systems prices were raised, fixed,

  maintained, and stabilized at artificially high levels throughout South Dakota; (3) Plaintiffs and

  members of the Damages Class, including those who resided in South Dakota and/or purchased



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  Occupant Safety Restraint Systems or vehicles in South Dakota, were deprived of free and open

  competition including in South Dakota; and (4) Plaintiffs and members of the Damages Class,

  including those who resided in South Dakota and/or purchased vehicles or Occupant Safety

  Restraint Systems in South Dakota, paid supracompetitive, artificially inflated prices for

  Occupant Safety Restraint Systems and vehicles containing Occupant Safety Restraint Systems

  including in South Dakota.

         (b)     During the Class Period, Defendants’ illegal conduct had a substantial effect on

  South Dakota commerce.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

         (d)     By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of South Dakota Codified Laws Ann. §§ 37-1, et seq. Accordingly, Plaintiffs

  and members of the Damages Class seek all relief available under South Dakota Codified Laws

  Ann. §§ 37-1, et seq.

         271.    Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the Tennessee Code Annotated §§ 47-25-101, et seq.

         (a)     Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout Tennessee; (2) Occupant Safety Restraint Systems prices were raised, fixed,

  maintained, and stabilized at artificially high levels throughout Tennessee; (3) Plaintiffs and

  members of the Damages Class, including those who resided in Tennessee and/or purchased

  Occupant Safety Restraint Systems or vehicles in Tennessee, were deprived of free and open



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  competition including in Tennessee; and (4) Plaintiffs and members of the Damages Class,

  including those who resided in Tennessee, and/or purchased Occupant Safety Restraint Systems

  or vehicles in Tennessee, paid supracompetitive, artificially inflated prices for Occupant Safety

  Restraint Systems and vehicles containing Occupant Safety Restraint Systems including in

  Tennessee.

         (b)     During the Class Period, Defendants’ illegal conduct had a substantial effect on

  Tennessee commerce. As a direct and proximate result of Defendants’ unlawful conduct,

  Plaintiffs and members of the Damages Class have been injured in their business and property

  and are threatened with further injury.

         (c)     By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of Tennessee Code Ann. §§ 47-25-101, et seq. Accordingly, Plaintiffs and

  members of the Damages Class seek all relief available under Tennessee Code Ann. §§ 47-25-

  101, et seq.

         272.    Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the Utah Code Annotated §§ 76-10-911, et seq.

         (a)     Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout Utah; (2) Occupant Safety Restraint Systems prices were raised, fixed, maintained,

  and stabilized at artificially high levels throughout Utah; (3) Plaintiffs and members of the

  Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

  the Damages Class paid supracompetitive, artificially inflated prices for Occupant Safety

  Restraint Systems and vehicles containing Occupant Safety Restraint Systems.




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         (b)     During the Class Period, Defendants’ illegal conduct had a substantial effect on

  Utah commerce.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

         (d)     By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of Utah Code Annotated §§ 76-10-911, et seq. Accordingly, Plaintiffs and

  members of the Damages Class seek all relief available under Utah Code Annotated §§ 76-10-

  911, et seq.

         273.    Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the 9 Vermont Stat. Ann. §§ 2451, et seq.

         (a)     Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout Vermont; (2) Occupant Safety Restraint Systems prices were raised, fixed,

  maintained, and stabilized at artificially high levels throughout Vermont; (3) Plaintiffs and

  members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

  and members of the Damages Class paid supracompetitive, artificially inflated prices for

  Occupant Safety Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

         (b)     During the Class Period Defendants’ illegal conduct had a substantial effect on

  Vermont commerce.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.



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         (d)     By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of 9 Vermont Stat. Ann. §§ 2451, et seq. Plaintiffs are entitled to relief

  pursuant to 9 Vermont Stat. Ann. § 2465 and any other applicable authority. Accordingly,

  Plaintiffs and members of the Damages Class seek all relief available under 9 Vermont Stat.

  Ann. §§ 2451, et seq.

         274.    Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the West Virginia Code §§ 47-18-1, et seq.

         (a)     Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout West Virginia; (2) Occupant Safety Restraint Systems prices were raised, fixed,

  maintained, and stabilized at artificially high levels throughout West Virginia; (3) Plaintiffs and

  members of the Damages Class, including those who resided in West Virginia and/or purchased

  Occupant Safety Restraint Systems or vehicles in West Virginia, were deprived of free and open

  competition including in West Virginia; and (4) Plaintiffs and members of the Damages Class,

  including those who resided in West Virginia and/or purchased vehicles or Occupant Safety

  Restraint Systems in West Virginia, paid supracompetitive, artificially inflated prices for

  Occupant Safety Restraint Systems and vehicles containing Occupant Safety Restraint Systems

  including in West Virginia.

         (b)     During the Class Period, Defendants’ illegal conduct had a substantial effect on

  West Virginia commerce.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.



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         (d)     By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of West Virginia §§ 47-18-1, et seq. Accordingly, Plaintiffs and members of

  the Damages Class seek all relief available under West Virginia §§ 47-18-1, et seq.

         275.    Defendants have entered into an unlawful agreement in restraint of trade in

  violation of the Wisconsin Statutes §§ 133.01, et seq.

         (a)     Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated

  throughout Wisconsin; (2) Occupant Safety Restraint Systems prices were raised, fixed,

  maintained, and stabilized at artificially high levels throughout Wisconsin; (3) Plaintiffs and

  members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

  and members of the Damages Class paid supracompetitive, artificially inflated prices for

  Occupant Safety Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

         (b)     During the Class Period Defendants’ illegal conduct had a substantial effect on

  Wisconsin commerce.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

         (d)     By reason of the foregoing, Defendants have entered into agreements in restraint

  of trade in violation of Wisconsin Stat. §§ 133.01, et seq. Accordingly, Plaintiffs and members of

  the Damages Class seek all relief available under Wisconsin Stat. §§ 133.01, et seq.

         276.    Plaintiffs and members of the Damages Class in each of the above states have

  been injured in their business and property by reason of Defendants’ unlawful combination,

  contract, conspiracy, and agreement. Plaintiffs and members of the Damages Class have paid



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  more for Occupant Safety Restraint Systems and vehicles containing Occupant Safety Restraint

  Systems than they otherwise would have paid in the absence of Defendants’ unlawful conduct.

  This injury is of the type the antitrust laws of the above states were designed to prevent and

  flows from that which makes Defendants’ conduct unlawful.

         277.    In addition, Defendants have profited significantly from the aforesaid conspiracy.

  Defendants’ profits derived from their anticompetitive conduct come at the expense and

  detriment of the Plaintiffs and the members of the Damages Class.

         278.    Accordingly, Plaintiffs and the members of the Damages Class in each of the

  above jurisdictions seek damages (including statutory damages where applicable), to be trebled

  or otherwise increased as permitted by a particular jurisdiction’s antitrust law, and costs of suit,

  including reasonable attorneys’ fees, to the extent permitted by the above state laws.



                                   THIRD CLAIM FOR RELIEF

                          Violation of State Consumer Protection Statutes
                           on behalf of Plaintiffs and the Damages Class

         279.    Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

  allegation set forth in the preceding paragraphs of this Complaint.

         280.    Defendants knowingly engaged in unlawful, unfair competition or unfair,

  unconscionable, deceptive, or fraudulent acts or practices in violation of the state consumer

  protection and unfair competition statutes listed below.

         281.    Defendants have knowingly entered into an unlawful agreement in restraint of

  trade in violation of the Arkansas Code Annotated, § 4-88-101.

         (a)     Defendants knowingly agreed to, and did in fact, act in restraint of trade or

  commerce by affecting, fixing, controlling, and/or maintaining at non-competitive and artificially


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  inflated levels, the prices at which Occupant Safety Restraint Systems were sold, distributed, or

  obtained in Arkansas and took efforts to conceal their agreements from Plaintiffs and members

  of the Damages Class.

         (b)     The aforementioned conduct on the part of the Defendants constituted

  “unconscionable” and “deceptive” acts or practices in violation of Arkansas Code Annotated, §

  4-88-107(a)(10).

         (c)     Defendants’ unlawful conduct had the following effects: (1) Occupant Safety

  Restraint Systems price competition was restrained, suppressed, and eliminated throughout

  Arkansas; (2) Occupant Safety Restraint Systems prices were raised, fixed, maintained, and

  stabilized at artificially high levels throughout Arkansas; (3) Plaintiffs and the members of the

  Damages Class were deprived of free and open competition; and (4) Plaintiffs and the members

  of the Damages Class paid supracompetitive, artificially inflated prices for Occupant Safety

  Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

         (d)     During the Class Period, Defendants’ illegal conduct substantially affected

  Arkansas commerce and consumers.

         (e)     As a direct and proximate result of the unlawful conduct of the Defendants,

  Plaintiffs and the members of the Damages Class have been injured in their business and

  property and are threatened with further injury.

         (f)     Defendants have engaged in unfair competition or unfair or deceptive acts or

  practices in violation of Arkansas Code Annotated, § 4-88-107(a)(10) and, accordingly, Plaintiffs

  and the members of the Damages Class seek all relief available under that statute.




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           282.   Defendants have engaged in unfair competition or unfair, unconscionable,

  deceptive or fraudulent acts or practices in violation of California Business and Professions Code

  § 17200, et seq.

           (a)    During the Class Period, Defendants marketed, sold, or distributed Occupant

  Safety Restraint Systems in California, and committed and continue to commit acts of unfair

  competition, as defined by Sections 17200, et seq. of the California Business and Professions

  Code, by engaging in the acts and practices specified above.

           (b)    During the Class Period, Defendants’ illegal conduct substantially affected

  California commerce and consumers.

           (c)    This claim is instituted pursuant to Sections 17203 and 17204 of the California

  Business and Professions Code, to obtain restitution from these Defendants for acts, as alleged

  herein, that violated Section 17200 of the California Business and Professions Code, commonly

  known as the Unfair Competition Law.

           (d)    The Defendants’ conduct as alleged herein violated Section 17200. The acts,

  omissions, misrepresentations, practices, and non-disclosures of Defendants, as alleged herein,

  constituted a common, continuous, and continuing course of conduct of unfair competition by

  means of unfair, unlawful, and/or fraudulent business acts or practices within the meaning of

  California Business and Professions Code, Section 17200, et seq., including, but not limited to,

  the following: (1) the violations of Section 1 of the Sherman Act, as set forth above; (2) the

  violations of Section 16720, et seq., of the California Business and Professions Code, set forth

  above;

           (e)    Defendants’ acts, omissions, misrepresentations, practices, and nondisclosures, as

  described above, whether or not in violation of Section 16720, et seq., of the California Business



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  and Professions Code, and whether or not concerted or independent acts, are otherwise unfair,

  unconscionable, unlawful or fraudulent;

         (f)     Defendants’ acts or practices are unfair to purchasers of Occupant Safety

  Restraint Systems (or vehicles containing them) in the State of California within the meaning of

  Section 17200, California Business and Professions Code; and

         (g)     Defendants' unlawful conduct had the following effects: (1) Occupant Safety

  Restraint Systems price competition was restrained, suppressed, and eliminated throughout

  California; (2) Occupant Safety Restraint Systems prices were raised, fixed, maintained, and

  stabilized at artificially high levels throughout California; (3) Plaintiffs and members of the

  Damages Class, including those who resided in California and/ or purchased Occupant Safety

  Restraint Systems or vehicles in California, were deprived of free and open competition,

  including in California; and (4) Plaintiffs and members of the Damages Class, including those

  who resided in California and/or purchased Occupant Safety Restraint Systems or vehicles in

  California, paid supracompetitive, artificially inflated prices for Occupant Safety Restraint

  Systems and vehicles containing Occupant Safety Restraint Systems, including in California.

         (h)     Defendants’ acts and practices are unlawful, fraudulent or deceptive within the

  meaning of Section 17200 of the California Business and Professions Code.

         (i)     The illegal conduct alleged herein is continuing and there is no indication that

  Defendants will not continue such activity into the future.

         (j)     The unlawful, fraudulent, deceptive, and unfair business practices of Defendants,

  and each of them, as described above, have caused and continue to cause Plaintiffs and the

  members of the Damages Class to pay supracompetitive and artificially-inflated prices for

  Occupant Safety Restraint Systems (or vehicles containing them). Plaintiffs and the members of



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  the Damages Class suffered injury in fact and lost money or property as a result of such unfair

  competition.

         (k)      As alleged in this Complaint, Defendants and their co-conspirators have been

  unjustly enriched as a result of their wrongful conduct and by Defendants’ unfair competition.

  Plaintiffs and the members of the Damages Class are accordingly entitled to equitable relief

  including restitution and/or disgorgement of all revenues, earnings, profits, compensation, and

  benefits that may have been obtained by Defendants as a result of such business practices,

  pursuant to the California Business and Professions Code, Sections 17203 and 17204.

         283.     Defendants have engaged in unfair competition or unlawful, unfair,

  unconscionable, or deceptive acts or practices in violation of District of Columbia Code § 28-

  3901, et seq.

         (a)      Defendants agreed to, and did in fact, act in restraint of trade or commerce by

  affecting, fixing, controlling and/or maintaining, at artificial and/or non-competitive levels, the

  prices at which Occupant Safety Restraint Systems were sold, distributed, or obtained in the

  District of Columbia.

         (b)      The foregoing conduct constitutes “unlawful trade practices,” within the meaning

  of D.C. Code § 28-3904.

         (c)      During the Class Period, Defendants’ illegal conduct substantially affected

  District of Columbia commerce and consumers.

         (d)      Plaintiffs were not aware of Defendants’ price-fixing conspiracy and were

  therefore unaware that they were being unfairly and illegally overcharged. There was a gross

  disparity of bargaining power between the parties with respect to the price charged by




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  Defendants for Occupant Safety Restraint Systems. Defendants had the sole power to set that

  price and Plaintiffs had no power to negotiate a lower price.

         (e)     Moreover, Plaintiffs lacked any meaningful choice in purchasing Occupant Safety

  Restraint Systems because they were unaware of the unlawful overcharge and because they had

  to purchase Occupant Safety Restraint Systems in order to be able to operate their vehicles.

         (f)     Defendants’ conduct with regard to sales of Occupant Safety Restraint Systems,

  including their illegal conspiracy to secretly fix the price of Occupant Safety Restraint Systems

  at supracompetitive levels and overcharge purchasers, was substantively unconscionable because

  it was one-sided and unfairly benefited Defendants at the expense of Plaintiffs and the public.

  Defendants took grossly unfair advantage of Plaintiffs.

         (g)     Defendants’ unlawful conduct had the following effects: (1) Occupant Safety

  Restraint Systems price competition was restrained, suppressed, and eliminated throughout the

  District of Columbia; (2) Occupant Safety Restraint Systems prices were raised, fixed,

  maintained, and stabilized at artificially high levels throughout the District of Columbia; (3)

  Plaintiffs and the Damages Class were deprived of free and open competition; and (4) Plaintiffs

  and the Damages Class paid supracompetitive, artificially inflated prices for Occupant Safety

  Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

         (h)     The aforementioned conduct on the part of the Defendants constituted

  “unconscionable trade practices,” in that such conduct, inter alia, resulted in a gross disparity

  between the value received by Plaintiffs and the members of the Damages Class and the prices

  paid by them for Occupant Safety Restraint Systems, due to the inflated prices paid by Plaintiffs

  and Class members for vehicles and Occupant Safety Restraint Systems.




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             (i)    As a direct and proximate result of the Defendants’ conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury. Defendants have engaged in unfair competition or unfair or

  deceptive acts or practices in violation of District of Columbia Code § 28-3901, et seq., and,

  accordingly, Plaintiffs and members of the Damages Class seek all relief available under that

  statute.

             284.   Defendants have engaged in unfair competition or unlawful, unfair,

  unconscionable, or deceptive acts or practices in violation of the Florida Deceptive and Unfair

  Trade Practices Act, Fla. Stat. §§ 501.201, et seq.

             (a)    Defendants’ unlawful conduct had the following effects: (1) Occupant Safety

  Restraint Systems price competition was restrained, suppressed, and eliminated throughout

  Florida; (2) Occupant Safety Restraint Systems prices were raised, fixed, maintained, and

  stabilized at artificially high levels throughout Florida; (3) Plaintiffs and members of the

  Damages Class were deprived of free and open competition; (4) Plaintiffs and members of the

  Damages Class paid supracompetitive, artificially inflated prices for Occupant Safety Restraint

  Systems; and (5) Reasonable purchasers in Florida were deceived into believing that they were

  paying competitive prices for their vehicles and Occupant Safety Restraint Systems.

             (b)    During the Class Period, Defendants’ illegal conduct substantially affected

  Florida commerce and consumers.

             (c)    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.




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         (d)     Defendants have engaged in unfair competition or unlawful, unfair or deceptive

  acts or practices in violation of Florida Stat. § 501.201, et seq., and, accordingly, Plaintiffs and

  members of the Damages Class seek all relief available under that statute.

         285.    Defendants have engaged in unfair competition or unfair, unconscionable, or

  deceptive acts or practices in violation of the New Mexico Stat. § 57-12-1, et seq.

         (a)     Defendants agreed to, and did in fact, act in restraint of trade or commerce by

  affecting, fixing, controlling and/or maintaining at non-competitive and artificially inflated

  levels, the prices at which Occupant Safety Restraint Systems were sold, distributed, or obtained

  in New Mexico and took efforts to conceal their agreements from Plaintiffs and members of the

  Damages Class.

                   (b)     Plaintiffs were not aware of Defendants’ price-fixing conspiracy and

  were therefore unaware that they were being unfairly and illegally overcharged. There was a

  gross disparity of bargaining power between the parties with respect to the price charged by

  Defendants for Occupant Safety Restraint Systems. Defendants had the sole power to set that

  price and Plaintiffs had no power to negotiate a lower price. Moreover, Plaintiffs lacked any

  meaningful choice in purchasing Occupant Safety Restraint Systems because they were unaware

  of the unlawful overcharge and because they had to purchase Occupant Safety Restraint

  Systems in order to be able to operate their vehicles. Defendants’ conduct with regard to sales

  of Occupant Safety Restraint Systems, including their illegal conspiracy to secretly fix the price

  of Occupant Safety Restraint Systems at supracompetitive levels and overcharge consumers,

  was substantively unconscionable because it was one-sided and unfairly benefited Defendants at

  the expense of Plaintiffs and the public. Defendants took grossly unfair advantage of Plaintiffs.




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         (c)     The aforementioned conduct on the part of the Defendants constituted

  “unconscionable trade practices,” in violation of N.M.S.A.§ 57-12-3, in that such conduct, inter

  alia, resulted in a gross disparity between the value received by Plaintiffs and the members of the

  Damages Class and the prices paid by them for Occupant Safety Restraint Systems as set forth in

  N.M.S.A. § 57-12-2E, due to the inflated prices paid by Plaintiffs and Class members for

  vehicles and Occupant Safety Restraint Systems.

         (d)     Defendants’ unlawful conduct had the following effects: (1) Occupant Safety

  Restraint Systems price competition was restrained, suppressed, and eliminated throughout New

  Mexico; (2) Occupant Safety Restraint Systems prices were raised, fixed, maintained, and

  stabilized at artificially high levels throughout New Mexico; (3) Plaintiffs and the members of

  the Damages Class were deprived of free and open competition; and (4) Plaintiffs and the

  members of the Damages Class paid supracompetitive, artificially inflated prices for Occupant

  Safety Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

         (e)     During the Class Period, Defendants’ illegal conduct substantially affected New

  Mexico commerce and consumers.

         (f)     As a direct and proximate result of the unlawful conduct of the Defendants,

  Plaintiffs and the members of the Damages Class have been injured in their business and

  property and are threatened with further injury.

         (g)     Defendants have engaged in unfair competition or unfair or deceptive acts or

  practices in violation of New Mexico Stat. § 57-12-1, et seq., and, accordingly, Plaintiffs and the

  members of the Damages Class seek all relief available under that statute.

         286.    Defendants have engaged in unfair competition or unfair, unconscionable, or

  deceptive acts or practices in violation of N.Y. Gen. Bus. Law § 349, et seq.



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           (a)   Defendants agree to, and did in fact, act in restraint of trade or commerce by

  affecting, fixing, controlling, and/or maintaining, at artificial and non-competitive levels, the

  prices at which Occupant Safety Restraint Systems were sold, distributed, or obtained in New

  York and took efforts to conceal their agreements from Plaintiffs and members of the Damages

  Class.

           (b)   Defendants deceptively led purchasers, such as Plaintiffs and Class members, to

  believe that the Occupant Safety Restraint Systems they had purchased as replacements and

  inside vehicles had been sold at legal competitive prices, when they had in fact been sold at

  collusively obtained inflated prices, that were passed on to them.

           (c)   The conduct of the Defendants described herein constitutes consumer-oriented

  deceptive acts or practices within the meaning of N.Y. Gen. Bus. Law § 349, which resulted in

  injuries to purchasers and broad adverse impact on the public at large, and harmed the public

  interest of New York State in an honest marketplace in which economic activity is conducted in

  a competitive manner.

           (d)   Because of Defendants' unlawful trade practices in the State of New York, New

  York purchasers who indirectly purchased Occupant Safety Restraint Systems were misled to

  believe that they were paying a fair price for Occupant Safety Restraint Systems or the price

  increases for Occupant Safety Restraint Systems were for valid business reasons; and similarly

  situated purchasers were potentially affected by Defendants' conspiracy.

           (e)   Defendants’ unlawful conduct had the following effects: (1) Occupant Safety

  Restraint Systems price competition was restrained, suppressed, and eliminated throughout New

  York; (2) Occupant Safety Restraint Systems prices were raised, fixed, maintained, and

  stabilized at artificially high levels throughout New York; (3) Plaintiffs and members of the



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  Damages Class, who resided in and/or made purchases of vehicles or Occupant Safety Restraint

  Systems in New York, were deprived of free and open competition and were subject to

  Defendants’ deceptive practices in New York; and (4) Plaintiffs and members of the Damages

  Class, who resided in and/or made purchases of vehicles and Occupant Safety Restraint Systems

  in New York, paid supracompetitive, artificially inflated prices for Occupant Safety Restraint

  Systems and vehicles containing Occupant Safety Restraint Systems, and were subjected to

  Defendants’ deceptive practices.

         (f)     Defendants knew that their unlawful trade practices with respect to pricing

  Occupant Safety Restraint Systems would have an impact on all purchasers in New York and

  not just the Defendants' direct customers.

         (g)     Defendants knew that their unlawful trade practices with respect to pricing

  Occupant Safety Restraint Systems would have a broad impact, causing class members who

  indirectly purchased Occupant Safety Restraint Systems to be injured by paying more for

  Occupant Safety Restraint Systems than they would have paid in the absence of Defendants'

  unlawful trade acts and practices.

         (h)     During the Class Period, Defendants marketed, sold, or distributed Occupant

  Safety Restraint Systems in New York and their illegal conduct substantially affected New York

  commerce and New York purchasers.

         (i)     During the Class Period, each of the Defendants named herein, directly, or

  indirectly and through affiliates they dominated and controlled manufactured, sold, and/or

  distributed Occupant Safety Restraint Systems in New York.

         (j)     Plaintiffs and members of the Damages Class seek all relief available pursuant to

  N.Y. Gen. Bus. Law § 349(h).



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         287.    Defendants have engaged in unfair competition or unfair, unconscionable, or

  deceptive acts or practices in violation of North Carolina Gen. Stat. § 75-1.1, et seq.

         (a)     Defendants agree to, and did in fact, act in restraint of trade or commerce by

  affecting, fixing, controlling, and/or maintaining, at artificial and non-competitive levels, the

  prices at which Occupant Safety Restraint Systems were sold, distributed, or obtained in North

  Carolina and took efforts to conceal their agreements from Plaintiffs and members of the

  Damages Class.

         (b)     The conduct of the Defendants described herein constitutes consumer-oriented

  deceptive acts or practices within the meaning of North Carolina law, which resulted in injuries

  to purchasers of Occupant Safety Restraint Systems and vehicles, and broad adverse impact on

  the public at large, and harmed the public interest of North Carolina purchasers in an honest

  marketplace in which economic activity is conducted in a competitive manner.

         (c)     Defendants’ unlawful conduct had the following effects upon purchasers of

  Occupant Safety Restraint Systems in North Carolina: (1) Occupant Safety Restraint Systems

  price competition was restrained, suppressed, and eliminated throughout North Carolina; (2)

  Occupant Safety Restraint Systems prices were raised, fixed, maintained, and stabilized at

  artificially high levels throughout North Carolina; (3) Plaintiffs and members of the Damages

  Class, including those who resided in North Carolina and/or purchased Occupant Safety

  Restraint Systems or vehicles in North Carolina, were deprived of free and open competition

  including in North Carolina; and (4) Plaintiffs and members of the Damages Class, including

  those who resided in North Carolina and/or purchased Occupant Safety Restraint Systems or

  vehicles in North Carolina, paid supracompetitive, artificially inflated prices for Occupant Safety




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  Restraint Systems and vehicles containing Occupant Safety Restraint Systems including in North

  Carolina.

         (d)     During the Class Period, Defendants’ illegal conduct substantially affected North

  Carolina commerce and purchasers of Occupant Safety Restraint Systems and vehicles.

  Defendants’ price-fixing conspiracy could not have succeeded absent deceptive conduct by

  Defendants to cover up their illegal acts. Secrecy was integral to the formation, implementation

  and maintenance of Defendants’ price-fixing conspiracy. Defendants committed inherently

  deceptive and self-concealing actions, of which Plaintiffs could not possibly have been aware.

  Moreover, Defendants deceptively concealed their unlawful activities by conducting meetings

  and conversations in secret.

         (e)     During the Class Period, each of the Defendants named herein, directly, or

  indirectly and through affiliates they dominated and controlled, manufactured, marketed, sold

  and/or distributed Occupant Safety Restraint Systems in North Carolina.

         (f)     Plaintiffs and members of the Damages Class seek actual damages for their

  injuries caused by these violations in an amount to be determined at trial and are threatened with

  further injury. Defendants have engaged in unfair competition or unfair or deceptive acts or

  practices in violation of North Carolina Gen. Stat. § 75-1.1, et seq., and, accordingly, Plaintiffs

  and members of the Damages Class seek all relief available under that statute.

         288.    Defendants have engaged in unfair competition or unfair, unconscionable, or

  deceptive acts or practices in violation of South Carolina Unfair Trade Practices Act, S.C. Code

  Ann. §§ 39-5-10, et seq.

         (a)     Defendants’ combinations or conspiracies had the following effects: (1) Occupant

  Safety Restraint Systems price competition was restrained, suppressed, and eliminated



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  throughout South Carolina; (2) Occupant Safety Restraint Systems prices were raised, fixed,

  maintained, and stabilized at artificially high levels throughout South Carolina; (3) Plaintiffs and

  members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

  and members of the Damages Class paid supracompetitive, artificially inflated prices for

  Occupant Safety Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

         (b)     During the Class Period, Defendants’ illegal conduct had a substantial effect on

  South Carolina commerce.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

  members of the Damages Class have been injured in their business and property and are

  threatened with further injury.

         (d)     Defendants have engaged in unfair competition or unfair or deceptive acts or

  practices in violation of S.C. Code Ann. §§ 39-5-10, et seq., and, accordingly, Plaintiffs and the

  members of the Damages Class seek all relief available under that statute.

         289.    Defendants have engaged in unfair competition or unfair, unconscionable, or

  deceptive acts or practices in violation of 9 Vermont § 2451, et seq.

         (a)     Defendants agreed to, and did in fact, act in restraint of trade or commerce in a

  market that includes Vermont, by affecting, fixing, controlling, and/or maintaining, at artificial

  and non-competitive levels, the prices at which Occupant Safety Restraint Systems were sold,

  distributed, or obtained in Vermont.

         (b)     Defendants deliberately failed to disclose material facts to Plaintiffs and members

  of the Damages Class concerning Defendants’ unlawful activities and artificially inflated prices

  for Occupant Safety Restraint Systems. Defendants owed a duty to disclose such facts, and

  Defendants breached that duty by their silence. Defendants misrepresented to all purchasers



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  during the Class Period that Defendants’ Occupant Safety Restraint Systems prices were

  competitive and fair.

         (c)     Defendants’ unlawful conduct had the following effects: (1) Occupant Safety

  Restraint Systems price competition was restrained, suppressed, and eliminated throughout

  Vermont; (2) Occupant Safety Restraint Systems prices were raised, fixed, maintained, and

  stabilized at artificially high levels throughout Vermont; (3) Plaintiffs and members of the

  Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

  the Damages Class paid supra-competitive, artificially inflated prices for Occupant Safety

  Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

         (d)     As a direct and proximate result of the Defendants’ violations of law, Plaintiffs

  and members of the Damages Class suffered an ascertainable loss of money or property as a

  result of Defendants’ use or employment of unconscionable and deceptive commercial practices

  as set forth above. That loss was caused by Defendants’ willful and deceptive conduct, as

  described herein.

         (e)     Defendants’ deception, including their affirmative misrepresentations and

  omissions concerning the price of Occupant Safety Restraint Systems, likely misled all

  purchasers acting reasonably under the circumstances to believe that they were purchasing

  Occupant Safety Restraint Systems at prices set by a free and fair market. Defendants’

  misleading conduct and unconscionable activities constitute unfair competition or unfair or

  deceptive acts or practices in violation of 9 Vermont § 2451, et seq., and, accordingly, Plaintiffs

  and members of the Damages Class seek all relief available under that statute.




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                                 FOURTH CLAIM FOR RELIEF

                                        Unjust Enrichment
                           on behalf of Plaintiffs and the Damages Class

         290.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

         291.    Plaintiffs bring this claim under the laws of all states listed in the Second and

  Third Claims, supra. Plaintiffs also bring this claim under the laws of Missouri, Massachusetts

  and Illinois on behalf of the Plaintiffs who have their primary places of business in those three

  states and the class members in those three states.

         292.    As a result of their unlawful conduct described above, Defendants have and will

  continue to be unjustly enriched. Defendants have been unjustly enriched by the receipt of, at a

  minimum, unlawfully inflated prices and unlawful profits on sales of Occupant Safety Restraint

  Systems.

         293.    Defendants have benefited from their unlawful acts and it would be inequitable

  for Defendants to be permitted to retain any of the ill-gotten gains resulting from the

  overpayments made by Plaintiffs or the members of the Damages Class for Occupant Safety

  Restraint Systems.

         294.    Plaintiffs and the members of the Damages Class are entitled to the amount of

  Defendants’ ill-gotten gains resulting from their unlawful, unjust, and inequitable conduct.

  Plaintiffs and the members of the Damages Class are entitled to the establishment of a

  constructive trust consisting of all ill-gotten gains from which Plaintiffs and the members of the

  Damages Class may make claims on a pro rata basis.

         295.    Pursuit of any remedies against the firms from whom Plaintiffs and the Class

  members purchased vehicles containing Occupant Safety Restraint Systems and Occupant Safety




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  Restraint Systems subject to Defendants’ conspiracy would have been futile, given that those

  firms did not take part in Defendants’ conspiracy.

                                      PRAYER FOR RELIEF

         Accordingly, Plaintiffs respectfully request that:

         A.      The Court determine that this action may be maintained as a class action under

  Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, and direct that reasonable

  notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be

  given to each and every member of the Classes;

         B.      The unlawful conduct, contract, conspiracy, or combination alleged herein be

  adjudged and decreed:

         (a)     An unreasonable restraint of trade or commerce in violation of Section 1 of the

  Sherman Act;

         (b)     A per se violation of Section 1 of the Sherman Act;

         (c)     An unlawful combination, trust, agreement, understanding, and/or concert of

  action in violation of the state antitrust and unfair competition and consumer protection laws as

  set forth herein; and

         (d)     Acts of unjust enrichment by Defendants as set forth herein.

         C.      Plaintiffs and the members of the Damages Class recover damages, to the

  maximum extent allowed under such laws, and that a joint and several judgment in favor of

  Plaintiffs and the members of the Damages Class be entered against Defendants in an amount to

  be trebled to the extent such laws permit;

         D.      Plaintiffs and the members of the Damages Class recover damages, to the

  maximum extent allowed by such laws, in the form of restitution and/or disgorgement of profits

  unlawfully gained from them;

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          E.      Defendants, their affiliates, successors, transferees, assignees and other officers,

  directors, partners, agents, and employees thereof, and all other persons acting or claiming to act

  on their behalf or in concert with them, be permanently enjoined and restrained from in any

  manner continuing, maintaining, or renewing the conduct, contract, conspiracy, or combination

  alleged herein, or from entering into any other contract, conspiracy, or combination having a

  similar purpose or effect, and from adopting or following any practice, plan, program, or device

  having a similar purpose or effect;

          F.      Plaintiffs and the members of the Damages Class be awarded restitution,

  including disgorgement of profits Defendants obtained as a result of their acts of unfair

  competition and acts of unjust enrichment;

          G.      Plaintiffs and the members of the Classes be awarded pre- and post- judgment

  interest as provided by law, and that such interest be awarded at the highest legal rate from and

  after the date of service of this Complaint;

          H.      Plaintiffs and the members of the Classes recover their costs of suit, including

  reasonable attorneys’ fees, as provided by law; and

          I.      Plaintiffs and members of the Classes have such other and further relief as the

  case may require and the Court may deem just and proper.

                                           JURY DEMAND

          Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil

  Procedure, of all issues so triable.

          Dated: July 3, 2013.
                                                         Respectfully submitted,


                                                          /s/ Gerard V. Mantese
                                                         Gerard V. Mantese
                                                         (Michigan Bar No. P34424)

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